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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION
         UNITED STATES OF AMERICA,                )
                                                  ) Cause No.
                  Plaintiff,                      ) 1:20-cr-0096-TWP-DLP
                                                  ) Indianapolis, Indiana
            vs.                                   ) February 15, 2022
                                                  ) 8:34 a.m.
         CHRISTOPHER TATE (01),                   )
         SANDRA KELLOGG (06),                     )
                                                  )       VOLUME VII
                  Defendants.                     )


                                  Before the Honorable
                                   TANYA WALTON PRATT

                          OFFICIAL REPORTER'S TRANSCRIPT OF
                                JURY TRIAL (REDACTED)



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                                            Indianapolis, IN 46202
         For Defendant Kellogg:             Ross G. Thomas, Esq.
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         Court Reporter:                    David W. Moxley, RMR, CRR, CMRS
                                            United States District Court
                                            46 East Ohio Street, Room 340
                                            Indianapolis, Indiana      46204

                      PROCEEDINGS TAKEN BY MACHINE SHORTHAND
                TRANSCRIPT CREATED BY COMPUTER-AIDED TRANSCRIPTION
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                                         I N D E X


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    1                               (In open court.)
    2              THE COURT:     Okay, we are on the record.       This is the

    3    United States of America versus Christopher Tate and Sandra

    4    Kellogg, and we're present, the lawyers and all counsel.

    5              And, lawyers, at this time the Court is going to deny

    6    the Rule 29 motion for Ms. Kellogg.        And, yes, it was a close

    7    call, but the Court is to review the evidence -- to view the

    8    evidence in the light most favorable to the government.            When

    9    the Court does that, the Court finds that the government has

   10    presented sufficient relevant evidence from which the jury

   11    could reasonably find Ms. Kellogg guilty beyond a reasonable

   12    doubt.

   13              The Court reviewed the cases that were cited by both

   14    parties last evening.      What distinguishes the evidence

   15    presented in this case from those cited by Mr. Thomas is the

   16    strong evidence that Tate and Kellogg were selling drugs and

   17    were on the same side of sales to a third party.           The Court

   18    read that Lomax case at 816 F.3d 468, which is a 2016 Seventh

   19    Circuit case, and this case discusses that when two individuals

   20    sell drugs and are on the same side of a sale to a third party,

   21    sufficient evidence a conspiracy exists.

   22              And the evidence that the Court considered was the

   23    alleged conspiratorial relationship between Tate and Kellogg,

   24    that they were on the same side of repeated drug transactions

   25    to Mr. Harris.     Kellogg would send Harris over to pick up the
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    1    methamphetamine and Kellogg contacts Tate to schedule the deal.

    2    Tate has Stewart make the deal with Harris, and that puts the

    3    three of them on the same side of several transactions with

    4    Ms. Kellogg.

    5              Also, the relationship between Ms. Kellogg and Dwyatt

    6    Harris.   Ms. Kellogg, there's sufficient evidence that she is

    7    conspiring with Dwyatt Harris to distribute drugs.           Ms. Kellogg

    8    is sending Dwyatt Harris to Indianapolis on several occasions,

    9    or having him travel within Indianapolis and transport drugs

   10    back to Silver Lake for redistribution.

   11              We saw a text message where Ms. Kellogg directed

   12    Dwyatt Harris to pick up two or three ounces of meth, and I

   13    believe it was two ounces, and bring it back to Silver Lake so

   14    that Kellogg could sell it to someone else.          And Kellogg, in

   15    that text message, she mentions the name of the customer who's

   16    going to get the drugs.      This puts Kellogg directing Harris to

   17    pick up drugs, knowing that they're going to redistribute those

   18    drugs.    Ms. Kellogg bought 16 ounces of methamphetamine in

   19    March, I believe it was either the 15th, and then on the 19th

   20    she's only got 11 ounces of meth at the house.

   21              There's some evidence that the jury could reach --

   22    there's circumstantial evidence to show that Mr. Harris either

   23    helped her distribute the methamphetamine or collected the

   24    money, because there is a significant amount of money found in

   25    Mr. Harris' pockets when he was arrested.         That evidence could
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    1    show that Mr. Harris was helping Ms. Kellogg redistribute the

    2    methamphetamine in Silver Lake or possibly collecting the

    3    money.   And then the transaction puts them on both sides of a

    4    transaction.    When you read the Lomax case, it talks about when

    5    two people sell drugs, are on the same side of a third party,

    6    there's sufficient evidence of a conspiracy.

    7              So, based on this evidence, the Court is going to deny

    8    the Rule 29 motion.      And I admit, lawyers, it was a very close

    9    call, and I had to review all these cases last night, but I

   10    think that the jury is going to get to make a decision on that

   11    count.

   12              All right, lawyers, so we need to go through the final

   13    instructions, and we don't need the defendants for that.            We're

   14    going to go through them ourselves and then we'll put it all on

   15    the record.    So we can go meet in the jury room in about two

   16    minutes; okay?

   17              THE COURTROOM DEPUTY:      All rise.

   18         (Recess at 8:42, until 9:07.)

   19              THE COURT:     All right, Mr. Tate has arrived, so,

   20    lawyers, we're going to go through the final jury instructions.

   21    And we're going to go through them at docket 618.           And your

   22    copies are being edited, and they will be out shortly.

   23              "Instruction on Functions of the Court and Jury,"

   24    "Members of the jury," will be given.

   25              "The charges against the defendants," will be given as
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    1    amended to remove Mr. Stewart.

    2              "The Presumption of Innocence/Burden of Proof," "Each

    3    defendant is presumed innocent," will be given as modified, and

    4    we're just going to change the last sentence to say, "He or she

    5    is not required to produce any evidence at all."

    6              Number four, "You must make your decision based solely

    7    on the evidence," will be given.

    8              The next instruction, "Considering the Evidence," will

    9    be given.

   10              "Direct and Circumstantial Evidence," given.

   11              "Number of Witnesses," given.

   12              "The law does not require any party to call as a

   13    witness," will be given.

   14              "Defendant's failure to testify," will be given.

   15              "Credibility of Witnesses," will be given.

   16              "It is proper for an attorney to interview," will be

   17    given.

   18              "Credibility of a witness," is not given.          That will

   19    be removed.

   20              "Witnesses Requiring Special Caution," "You've heard

   21    testimony from witnesses who were promised a benefit," will be

   22    given.

   23              "You may consider the evidence that a witness was

   24    convicted of a crime," will be given.

   25              The "Accomplice Testimony," instruction will be given.
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    1              "Identification Testimony," will be given.

    2              "Voice Identification Testimony," will be given.

    3              The opinion instruction will be given as modified.

    4    This instruction will say, "You have heard witnesses -- you

    5    have heard several witnesses who gave opinions and testimony

    6    concerning drug trafficking practices.         You do not have to

    7    accept these witnesses' testimony and opinions."

    8              The next instruction, "Specific Investigative

    9    Techniques Not Required," is withdrawn by the government.

   10              The wiretap instruction, given.

   11              "Plea Bargaining," instruction given.

   12              "English Language Recordings," given, and we'll

   13    modify, and the third paragraph will read, "It is up to you to

   14    decide whether to listen to a recording during your

   15    deliberations."

   16              The next instruction, "Foreign Language

   17    Recordings/English Transcripts," will be given.           And in the

   18    next to last sentence, it will say, "You may not rely on any

   19    knowledge you may have of the Spanish language."

   20              The next instruction, "Certain summaries were admitted

   21    in evidence," is given.

   22              Demonstrative Charts Not Received in Evidence."

   23    "Certain maps and charts were shown to you to help explain

   24    other evidence that was admitted."        These maps and charts were

   25    Exhibit 34, and will be given.
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    1              "Juror Note-Taking" is given.

    2              "The second superceding indictment charges that the

    3    crime happened 'on or about,'" will be given.

    4              "Separation Consideration, One Defendant Charged with

    5    Multiple Crimes," will be given.

    6              "Multiple Defendants Charged With Same or Multiple

    7    Crimes," even though the defendants are not -- are being tried

    8    together, will be given.

    9              "In deciding your verdict, you should not consider a

   10    possible punishment," will be given.

   11              The definition of "knowingly" will be given.

   12              "A defendant's presence at the scene of a crime," is

   13    given.

   14              The next instruction is titled 33.         "Count 1 of the

   15    second superceding indictment charges defendants Christopher

   16    Tate and Sandra Kellogg with a conspiracy to distribute

   17    controlled substances."      So we're removing "Jovan Stewart" and

   18    "Dwyatt Harris."

   19              The definition of "conspiracy" is given.

   20              "Membership in Conspiracy," is given.

   21              "A conspiracy is a combination of two or more persons

   22    to accomplish an unlawful purpose," is given without anyone's

   23    objection.

   24              Then we're going to add the buyer/seller instruction.

   25    "A conspiracy requires more than just a buyer/seller
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    1    relationship."     That will be given.     That was Mr. Thomas' and

    2    Mr. Riggins' tendered instruction.        Mr. Thomas' tendered

    3    instruction, "Count 1 charges there was a single conspiracy,"

    4    that will be given.

    5              The next instruction, "Overt Acts," will be given.

    6              We are -- the next instruction, titled number 38, is

    7    withdrawn.    "A defendant, with an understanding of the unlawful

    8    character of a plan," is withdrawn by the government.

    9              The next instruction, "The alleged conspiracy was to

   10    distribute controlled substances," is given.

   11              The instruction, "Some of the people who may have been

   12    involved in these events are not on trial," is given.

   13              "If it is established beyond a reasonable doubt," is

   14    given without any objection.

   15              "You are instructed, as a matter of law, that

   16    methamphetamine is a Schedule II," is given.

   17              "Distribution of Methamphetamine."         "Counts 2 and 4 of

   18    the second superceding indictment charge Christopher Tate with

   19    distribution of methamphetamine," is given.

   20              The "Definition of Distribution" is given.

   21              "Any person who aids in the commission of an offense

   22    may be found guilty of that offense," is given.

   23              The next instruction, that was number 46, will read,

   24    "Count 3 of the second superceding indictment charges Defendant

   25    Christopher Tate with" -- we removed "Jovan Stewart" -- "with
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     1   possession of methamphetamine with intent to distribute.

     2   Count 5 of the second superceding indictment charges Defendant

     3   Sandra Kellogg."      That will be given as modified, to remove

     4   "Jovan Stewart."

     5              The next instruction is the "Definition of

     6   Possession."     That will be given.

     7              "In attempting to determine the intent of any person,"

     8   will be given.

     9              "If you find the defendant guilty of the offense

   10    charged in Count 1," will be given.

   11               "When determining the amount of a mixture or substance

   12    containing a detectable amount of methamphetamine," will be

   13    given.

   14               The next instruction, that was 51, will read, "If you

   15    find Christopher Tate guilty of the offenses charged in Count 2

   16    or Count 3 or Count 4," will be given.

   17               What was previously 52 will not be given.

   18               What was previously 53 will not be given.

   19               54, "If you find Sandra Kellogg guilty of the offense

   20    charged in Count 5 of the second superceding indictment," will

   21    be given.

   22               And then, "Once you are all in the jury room...choose

   23    your foreperson," will be given.

   24               The instructions to the alternate juror will be given.

   25               "Verdict forms have been prepared for you," will be
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     1   given.    We'll make sure that that says, "Advise the clerk," and

     2   not, "the Marshal."

     3              And then the unanimity instruction, that is

     4   instruction number 47, will be given.

     5              Do you agree, Government?

     6              MR. BLACKINGTON:     Yes, Your Honor.

     7              THE COURT:    Mr. Riggins?

     8              MR. RIGGINS:    Yes, Your Honor.

     9              THE COURT:    Mr. Thomas?

   10               MR. THOMAS:    Yes, Your Honor.

   11               THE COURT:    All right, lawyers.      So we're going to

   12    bring in your packets, hopefully they're ready, the full

   13    instructions, and also let you look at the verdict forms.             And

   14    Tanesa is going to go and check and see if our jurors are all

   15    here.    They were supposed to be -- oh, they have a few more

   16    minutes.    They weren't supposed to get here until 9:30, and

   17    it's 9:23.    So, as soon as our jury arrives, we'll let you know

   18    and we'll get started.       So it should be shortly, about 10 or 15

   19    minutes.

   20               THE COURTROOM DEPUTY:      All rise.

   21         (Recess at 9:24, until 10:04.)

   22               THE COURT:    We are back on the record, the United

   23    States of America versus Christopher Tate and Sandra Kellogg.

   24               And, Counsel, before we bring the panel in, they're in

   25    the hallway, all lawyers have had an opportunity to review the
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     1   verdict forms.     Government, do you have any objections to the

     2   verdict forms?

     3              MR. BLACKINGTON:      No, Your Honor.

     4              THE COURT:    Mr. Riggins?

     5              MR. RIGGINS:    No, Your Honor.

     6              THE COURT:    And Mr. Thomas?

     7              MR. THOMAS:    I have no objection to the verdict forms.

     8              THE COURT:    Okay.   Is the government ready for the

     9   jury?

   10               MR. BLACKINGTON:      Yes, Your Honor.

   11               THE COURT:    Defendants ready?

   12               MR. RIGGINS:    Yes, Your Honor.

   13               MR. THOMAS:    Yes, Your Honor.

   14               THE COURT:    All right.    You may bring in the panel.

   15               THE COURTROOM DEPUTY:      All rise.

   16         (Jury in at 10:05.)

   17               THE COURT:    We are back on the record.       This is the

   18    United States of America versus Christopher Tate.           Mr. Tate

   19    appears in person with his attorney, Kenneth Lawrence Riggins.

   20    The defendant, Sandra Kellogg, appears in person and by her

   21    attorney, Ross G. Thomas.        And on behalf of the United States,

   22    Assistant United States Attorney Bradley A. Blackington

   23    appears.

   24               And ladies and Gentlemen of the Jury, I hope you all

   25    had a good evening.      So welcome back to the courthouse.        We are
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     1   going to do our deliberations today.

     2              First of all, you're going to hear the closing

     3   arguments of counsel.      And because the government has the

     4   burden of proof, they're allowed to go first.           And if

     5   Mr. Blackington reserves some of his time, he will also have an

     6   opportunity to give final rebuttal comments.

     7              So at this time, Mr. Blackington, you may present your

     8   closing argument.

     9              MR. BLACKINGTON:     Your Honor, we had discussed a

   10    couple of days ago about whether we were wearing the masks or

   11    not in closing.     Is that -- are we wearing them?

   12               THE COURT:    Is everybody comfortable if he removes --

   13    raise your hand.      It's just so hard to talk in these masks --

   14    and so that they can be more effective.

   15               And, Mr. Blackington, all of the lawyers who will be

   16    presenting today are fully vaccinated, and I believe they've

   17    all had their booster shots.

   18               MR. BLACKINGTON:     Yes, Your Honor.

   19               MR. THOMAS:    Your Honor, may I address the Court?

   20               THE COURT:    Yes.

   21         (Bench conference on the record.)

   22               MR. THOMAS:    Can you hear me, Your Honor?

   23               THE COURT:    Okay, Counsel, you may.

   24               MR. THOMAS:    Your Honor, I had mentioned yesterday

   25    that while my client did not intend to testify, that I was
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     1   going to ask the Court to take judicial notice that Silver Lake

     2   was in the Northern District on the record.

     3              THE COURT:    Correct.    I need to let both defendants

     4   rest on the record, also.        Okay.

     5                                 (Open court.)

     6              THE COURT:    All right.      Before we begin those

     7   arguments, the Court does need to allow one more thing to

     8   occur.    Mr. Riggins, do you wish to present any evidence on

     9   behalf of your client?

   10               MR. RIGGINS:    No, Your Honor.     At this time,

   11    Christopher Tate rests.

   12               THE COURT:    Okay.   And, Mr. Thomas, do you wish to

   13    present any evidence on behalf of Ms. Kellogg?

   14               MR. THOMAS:    Your Honor, on behalf of Ms. Kellogg, I

   15    would request that the Court take judicial notice of the fact

   16    that Silver Lake, Indiana, is in the Northern District of

   17    Indiana.

   18               THE COURT:    The Court will take judicial notice of

   19    that fact.

   20               MR. THOMAS:    And other than that, Ms. Kellogg rests,

   21    Your Honor.

   22               THE COURT:    All right.      So both defendants are going

   23    to rest on their constitutional rights to not present, and the

   24    government, of course, is going to rely on its burden of proof

   25    to prove beyond a reasonable doubt.
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1263

     1              At this time, Mr. Blackington, you may give your

     2   closing argument.

     3                             CLOSING ARGUMENT BY:

     4              MR. BLACKINGTON:     Thank you, Your Honor.

     5              In my opening statement, I spent a lot of time

     6   speaking with you about conspiracy and how the drug trafficking

     7   business works.     Today I want to start a little bit in reverse

     8   order.    I want to talk to you first about Counts 2 through 5

     9   and then we'll have a more lengthy discussion about the

   10    conspiracy.

   11               Count 2 of the indictment charges Christopher Tate

   12    with distributing 50 grams of methamphetamine and actual

   13    methamphetamine, pure methamphetamine, on December 8th of 2019.

   14    You will be instructed by the Court, after all of us give our

   15    closing, about what the elements are or the things that we have

   16    to prove to prove the offense of distribution, but here's what

   17    you'll be told.     You'll be told we need to prove -- the

   18    government needs to prove both of the -- the following two

   19    elements beyond a reasonable doubt:         One, the defendant

   20    knowingly distributed methamphetamine, you transfer it to

   21    somebody else; secondly, the defendant knew the substance was

   22    or contained some kind of a controlled substance.

   23               So in this case, the December 8th delivery by Chris

   24    Tate, distribution, was part of the controlled purchase that

   25    DEA conducted on December 8th, 2019.         It was the third
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1264

     1   controlled buy that you heard happen that DEA executed from the

     2   Mexican gentleman, Jose Rodriguez-Chavez, who was also known as

     3   Jalisco and also known as Johnny.         So the idea is that Chris

     4   Tate gives the methamphetamine to Lacey Guzman, who gives it to

     5   Jalisco, who gives it to the informant.          That's the first

     6   delivery.    And this is the evidence that we have to show that

     7   that delivery occurred.

     8              If I could display a chart on the screen.          And if we

     9   could have the whole screen, please.

   10               So on December 7th, the informant, Adela

   11    Marcelino-Cruz, called Jalisco and said she had somebody who,

   12    "wanted one."     Twenty-eight minutes later, Lacey Guzman said

   13    that she was working with someone different, who wanted to

   14    charge more, but that she was still waiting on Chris to call

   15    her back.

   16               An hour and a half later, Lacey Guzman speaks with

   17    Chris, Chris Tate, and says that he, referring to Johnny, was

   18    in a jam and needed one.       Chris Tate told Lacey Guzman to see

   19    if he still wants it and to call back.         Ms. Guzman then told

   20    Chris Tate that he said we could, "do it tomorrow," do the deal

   21    the next day.     At 7:18 p.m., Jalisco asked Lacey Guzman if

   22    Chris said that, "Tomorrow is fine," and Lacey Guzman said

   23    that, "3:00 tomorrow should be fine."

   24               Then we move to December 8th, another telephone call.

   25    Jalisco tells the informant that he had things arranged, and
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1265

     1   Lacey Guzman then tells Jalisco, "3:00 at the office."            Jalisco

     2   tells the informant, "The same place as last time."            So that's

     3   the                                 address where all three of the

     4   controlled buys were done.

     5              Then we move ahead to 2:41 p.m.        Lacey Guzman is the

     6   first one to show up at the house in her vehicle.           It's a blue

     7   Pontiac.    Fifteen minutes after Guzman shows up, Detective

     8   Brimer sees Chris Tate, in a white Jeep Wrangler, park across

     9   the street from                                   to keep an eye on

   10    what's happening there.

   11               Two minutes later, a video captures Mr. Tate driving

   12    across Massachusetts Avenue to the building.          He parks at the

   13    building, he gets out of the Jeep Wrangler, carrying a gray

   14    plastic bag, and he goes into Suite C, which is the door on the

   15    right end.    After Mr. Tate goes into Suite C, Jalisco gets out

   16    of the blue Cadillac that he has and enters Suite C.            So we now

   17    have everybody inside Suite C except for the informant, Lacey

   18    Guzman, Jalisco, and Chris Tate.

   19               One minute later, the informant arrives in her

   20    vehicle.    Jalisco comes out of Suite C, gets in the informant's

   21    vehicle, and delivers the meth to Tate.          You might remember

   22    seeing the bag that she was handed.         It was a plastic bag.      And

   23    Jalisco cut it open with a screwdriver to show her the

   24    methamphetamine.

   25               Jalisco leaves the informant's car.        The informant
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1266

     1   drives away with what?       A gray plastic bag containing one pound

     2   of methamphetamine.      And you saw the gray plastic bag in the

     3   drug exhibit that we showed you and passed around, a gray

     4   plastic bag that resembled the one that Chris Tate took out of

     5   the Jeep Wrangler and took into Massachusetts Avenue.

     6              Interestingly, a minute after Chris -- after the

     7   informant drives away, out comes Chris Tate.          What doesn't he

     8   have?    The gray plastic bag that he took in.        We know why,

     9   because the gray plastic bag contained a pound of

   10    methamphetamine, and he gave it to Lacey Guzman, who gave it to

   11    Jalisco, who gave it to the informant, and the meth was now in

   12    DEA custody.     The methamphetamine had more than 50 grams of

   13    actual, or pure, meth.       We read the stipulation to you in

   14    court.    It contained 453.2 grams of actual methamphetamine.

   15               Count 3 of the indictment is a charge of possession of

   16    50 grams or more of actual meth with intent to distribute, and

   17    it happened on February 21st of 2020.         You will be instructed

   18    about what the elements are of the offense of possession with

   19    intent to distribute, and there are three of them:            The

   20    defendants knowingly possessed methamphetamine, the defendant

   21    intended to distribute the substance to another person, and the

   22    defendant knew the substance was some kind of a controlled

   23    substance.

   24               That evidence came from the traffic stop that was

   25    conducted of Chris Tate, Jovan Stewart, and Tia Dimmett after
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1267

     1   the phone calls on February 21st of 2020.          We went through all

     2   of those phone calls that led up to the deal.           It started with

     3   Darrell Stennis dying and leaving 15 pounds of meth at Tia

     4   Dimmett's house.

     5              Who takes possession of the methamphetamine at that

     6   point?    Well, at first it's Tia Dimmett.        She gives eight

     7   pounds of the meth to Chris Tate and transports the remaining

     8   seven pounds to Periwinkle Way, to her grandmother's house.

     9   All the while that this is happening, Chris Tate is telling

   10    Danielle Dowling that somebody had, "a couple of them to sell

   11    for 2,400," two pounds of meth at the discounted price of

   12    $2,400 per pound.

   13               Chris Tate delivers two pounds of meth to Bruce Lyons

   14    at Extra Space Storage.       We know about that based on the

   15    surveillance that was conducted of him and Mr. Lyons, as well

   16    as the testimony of Desirae Evans, that she set up the deal and

   17    that after Mr. Lyons was arrested, she went back to the storage

   18    facility, found the two pounds of meth, and sold it.

   19               Also on February 21st, at about 2:00, Chris Tate and

   20    Twon agree to meet at a church near Periwinkle Way.            Everybody

   21    then drives to Periwinkle Way, at which time Chris Tate

   22    delivers two pounds of meth to Twon.         And we know that that

   23    happens from the video that was Exhibit 461.          We saw Twon go

   24    into the building, wearing a hoodie, and he came out, we saw

   25    him come out with a big bulge.        One of two things happened in
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     1   the few minutes:      He got two pounds of meth from Chris Tate and

     2   concealed it in his hoodie, or he got pregnant very, very

     3   quickly.    Ladies and Gentlemen of the Jury, I'll let you figure

     4   out which of those happened.

     5              After that, there are five pounds of meth still at

     6   Periwinkle Drive.      Chris Tate calls Danielle Dowling and asks

     7   for her exact count.      She has $3,000.     Tate, Stewart, and

     8   Dimmett return to Periwinkle Way, Dimmett carries the white bag

     9   out of Periwinkle Way and gives it to Chris Tate.           He now has

   10    possession of it, and he puts it on the floorboard of the front

   11    passenger seat of the car.

   12               Chris Tate then calls Eric Poore, who tells him he'll

   13    have $6,000.     Tate said that D called -- D, or Danielle

   14    Dowling -- called for a pound of meth.         So Chris Tate makes

   15    plans to meet Eric Poore at                      to deliver meth and to

   16    meet Danielle Dowling at the Walmart in Beech Grove.

   17               Well, Mr. Tate never made it to either                       or

   18    to the Walmart in Beech Grove.        He was stopped by the police

   19    with five pounds of methamphetamine in his possession on the

   20    floorboard underneath his feet in the front passenger

   21    compartment of the car, five pounds of meth that he intended to

   22    distribute specifically to Eric Poore and Danielle Dowling.

   23    The methamphetamine tested positive, as the lab results show,

   24    and there's well over 50 grams of actual methamphetamine.

   25    There's almost 2,000 grams of actual methamphetamine.
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     1              Let's then turn to Counts 4 and 5.        Counts 4 and 5 are

     2   the delivery of methamphetamine from Chris Tate to Sandra

     3   Kellogg that happened on March 15th of 2020, about four days

     4   before Ms. Kellogg was arrested.        So the delivery from Tate to

     5   Kellogg happened in the city of Indianapolis on the 15th of

     6   March, and Kellogg took possession of the pound of

     7   methamphetamine in Indianapolis on March 15th.           Count 4 is Tate

     8   delivering it to Kellogg, distributing it to Kellogg.            Count 5

     9   is Kellogg taking possession of it with intent to distribute.

   10               And if we look at the text messages that set up the

   11    deal, they were Exhibit 630, and there were a very long list of

   12    text messages.     They started with a phone call between Kellogg

   13    and Tate.    And then in the fourth text message Tate says,

   14    "Three flat."     So he's going to charge her $3,000 for the pound

   15    of meth.    And Kellogg asked if he'll take 2,800.         No, it's got

   16    to be $3,000; okay?

   17               On line 8, Kellogg says, "I'm trying to get it all and

   18    I'm on my way that way."       Tate sends an address of 3725 North

   19    Keystone Avenue, which is where they initially planned to meet

   20    to do the deal.     And it's a -- it's a Family Dollar or Dollar

   21    General Store.     I think it's a Dollar General Store in

   22    Indianapolis.     Kellogg acknowledges the address, and then they

   23    continue to communicate on the phone.         On line 20, text message

   24    number 20, at 6:42 in the evening, Tate reminds Sandra Kellogg

   25    to call when she was 30 minutes away.
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     1              And let's go to the next page.

     2              Okay, they continue to talk, and on line 27, at

     3   Kellogg's request, Tate provides her with the address again.

     4   She tells him, "10 minutes away and about to pull up," and

     5   that she's here.      Okay.   She doesn't meet Chris Tate there.

     6   She meets someone else, who's a drug runner for Chris Tate.

     7              And you will receive an instruction called the aiding

     8   and abetting instruction.       What the aiding and abetting

     9   instruction means is, if somebody else helps somebody to commit

   10    a crime, aids them in committing a crime, they're on the hook

   11    for the crime.     So, by setting up this drug deal and giving it

   12    to the -- the pound of meth to the person who brought it to

   13    Sandra Kellogg, Chris Tate aided and abetted that person,

   14    helped them commit the crime, and he's on the hook for the

   15    pound of meth that was delivered.

   16               We saw from the cellular site records, also, that the

   17    phones from Sandra Kellogg and Dwyatt Harris were in the same

   18    area, at the Dollar General Store, at the time that this

   19    meeting happened, which further proves they were there.            And

   20    line 34, Tate acknowledged, "Got.         Love you, good looking."

   21    She got the pound of meth.       Tate says, "No problem."       And just

   22    to make sure, in the last text message Sandra Kellogg tells

   23    someone else, "Hey, I just passed through Indy, had to come

   24    pick up."    It tells exactly what she was doing in Indianapolis,

   25    picking up the pound of methamphetamine.
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     1              Ms. Kellogg is later arrested, four days later, in the

     2   early morning of March 19th at her house in Silver Lake,

     3   Indiana.    Eleven ounces of the 16 that she bought from Chris

     4   Tate on the 15th are found there.         The lab results discuss the

     5   purity of the meth.      One of the samples, there's 190 grams of

     6   actual methamphetamine.       The other, 117.3 grams.      So, again,

     7   we're well over 50 grams of actual meth.

     8              And after she's arrested, Kellogg gives not one, but

     9   two confessions.      The first one is to a DEA agent, Agent

   10    Schneider in Fort Wayne, where she admits that there was meth

   11    in her house, as well as a gun.        And then there's a longer

   12    conversation, a longer confession she gives to Agent Holbrook,

   13    where she admitted that the 11 ounces of meth at her house were

   14    what was left from the 16 ounces, or the pound, that she got

   15    from her source in Indianapolis.

   16               And we know who that was from looking at the text

   17    messages.    It was Chris Tate.      The text messages with Chris

   18    Tate were to three different cellular phones.           All three of

   19    those cellular phones were found in Chris Tate's house when it

   20    was searched by DEA several days later.

   21               So that evidence shows, number one, that Chris Tate

   22    aided and abetted somebody in delivering the pound of meth to

   23    Kellogg, and that Kellogg took possession of that pound of

   24    methamphetamine in Indianapolis.

   25               Now, how do we know that she intended to distribute it
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     1   to somebody else?      Well, the first thing we know is when the

     2   drugs were found, a large amount of meth; right?           A pound of

     3   meth, 28.3 grams in an ounce, about 435 grams in a pound, and

     4   we know that a dosage unit for the typical user in a day is a

     5   gram.    And that's a pretty high dosage unit for someone, so

     6   that's a lot of meth.      And the weight of the meth itself shows

     7   that it's possessed with intent to distribute.

     8              But how else do we know?       We know because it was

     9   bagged into ounce quantities for distribution.           If somebody is

   10    just going to use the pound of meth, why rebag it into separate

   11    bags with ounces?      The reason you do that is you have customers

   12    coming to buy ounces of meth, so you want to weigh it and

   13    package it so you can sell it to the customers.           So the fact

   14    that the bags are in ounce quantities is very important to the

   15    case.

   16               But what else do we have?       A large amount of the meth

   17    is found in a shoebox in her bedroom.         It's found with digital

   18    scales, which you've heard testimony, dealers use to weigh meth

   19    for distribution, and it's found in her bedroom with other

   20    sandwich Baggies.      And why would you have sandwich Baggies in

   21    your bedroom with meth and digital scales?          To distribute the

   22    meth.    If you're just going to use it yourself, you're going to

   23    take it in the package that Chris Tate gave it to you in.

   24    You're not going to have to rebag it into other sandwich

   25    Baggies.    But the presence of those sandwich Baggies in her
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     1   bedroom, with the digital scales and the drugs, shows ongoing

     2   drug trafficking and the intent to distribute it.

     3              On top of that, what else do we have?         We have $375

     4   that are found in Dwyatt Harris' pants pocket on the bed.

     5   Where did that money come from?        Well, we know that there's

     6   five ounces of meth that's missing from what she got

     7   originally.     Ladies and Gentlemen of the Jury, where do you

     8   think that $375 came from?       Dwyatt Harris selling one of those

     9   ounces of meth for Ms. Kellogg and collecting the money.

   10               Let's move, then, to the conspiracy count.          And in the

   11    opening statement I gave, and I think you all saw this as it

   12    evolved, we talked about drug trafficking being a business, and

   13    I talked about it like Krispy Kreme doughnuts, that the

   14    doughnuts are made in North Carolina, they're sent to

   15    Indianapolis by truck.       They arrive at a wholesale location.

   16    And then, from the wholesale location, the doughnuts are given

   17    to retail distributors, who then sell them to the customers.

   18    And all of the people who work for the Krispy Kreme doughnut

   19    business, from the CEO to the people selling them in the retail

   20    stores, are part of an agreement to sell doughnuts.

   21               I talked to you about how a drug trafficking business

   22    was similar to Krispy Kreme in many ways.          There's a hierarchy,

   23    there's an organization, there's a structure to the drug

   24    trafficking business.      It's also a business that's driven by

   25    profits, and it operates in the same way.          We focused in this
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     1   drug business on the wholesale seller, Christopher Tate, and

     2   many of his retail distributors, who included Sandra Kellogg.

     3   The drugs come to Indianapolis.        Someone like Mr. Tate gets

     4   them, distributes them to the retail dealers, who sell them on

     5   the streets.

     6              But we also talked about how a drug trafficking

     7   business is different from the doughnut business.           Drugs, as

     8   you've seen, methamphetamine and heroin, create awful results

     9   on society.     You heard about this a little bit, about meth

   10    addicts who stay up for several days without sleep.

   11               But the fact that the drug dealing business is illegal

   12    causes the evidence to look differently than it would for a

   13    legitimate business like Krispy Kreme.         We talked about how

   14    drug dealing -- people who deal drugs are criminals.            So the

   15    government witnesses who testify, and that you would hear

   16    describe how this organization worked, had their own type of

   17    resumé, and it's a resumé different than someone who works for

   18    Krispy Kreme doughnuts.       It's called a criminal record.

   19               We also heard, the fact that drug trafficking is

   20    illegal means that it occurs in secret.          All of the drug

   21    trafficking activity happens in secret.          There are no written

   22    contracts like you would have for selling doughnuts.            We prove

   23    how the agreement works by the actions of the members of the

   24    conspiracy.

   25               There aren't signs in the business advertising meth or
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     1   heroin for sale.      The drug dealers simply blend into the

     2   community.    And when they talk on the phone, they speak in

     3   code.    They don't say, "Hey, I've got a pound of meth for

     4   sale."    You've seen how all of that developed in this case.

     5              Also, the fact that drug dealing is illegal means that

     6   it's an insular business.       We talked about how it's

     7   compartmentalized, especially when you get into upper level

     8   dealers like Chris Tate and significant wholesale dealers like

     9   Sandra Kellogg.     People who are involved in drug dealing want

   10    as few people to know about what they're doing as possible.

   11    Why?    They don't want witnesses to come into court to testify

   12    about them.

   13               So they have this compartmentalized business model

   14    where members of each link in the drug distribution chain try

   15    to exist in their own little compartment and carry out their

   16    dealings isolated and separate from other people.           The result

   17    is that there's nobody who can testify about how the entire

   18    business works, because they keep contacts to a minimum.

   19               That's why people like Danielle Dowling, Desirae

   20    Evans, and Sandra Kellogg don't know about each other and their

   21    activities, because Chris Tate wants to deal with them

   22    separately so they don't know who each other are, and there are

   23    few -- there isn't a witness to how the whole operation works.

   24               We talked about the drug trafficking business not

   25    being a business agreement, but it's called a conspiracy.             And
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     1   when you are instructed on conspiracy, the instruction will

     2   discuss that there are two elements of the offense:            One, the

     3   conspiracy that's charged in Count 1 existed; and, secondly,

     4   that a defendant knowingly became a member of the conspiracy

     5   with the intent to advance it.        So, again, a conspiracy is an

     6   agreement to commit a crime, and each defendant joins into the

     7   agreement with the intention to advance it or further it or

     8   help it along.

     9              This agreement in this case, the conspiracy, was an

   10    agreement between Chris Tate, Jovan Stewart, and many other

   11    people to distribute controlled substances in Indianapolis,

   12    both meth and heroin.      Chris Tate was the primary member of the

   13    conspiracy.     He's the source of supply for the drugs.

   14               Jovan Stewart was a drug runner for Chris Tate, Sandra

   15    Kellogg sold methamphetamine for Chris Tate, and Dwyatt Harris

   16    was a drug runner who also, based on the money that was found

   17    in his pockets on the day of his arrest, you can also infer was

   18    a dealer for Sandra Kellogg.

   19               Let's talk about the evidence, as to how each

   20    defendant participated and joined the conspiracy.           We talked

   21    about different sources of evidence in the beginning, wiretaps,

   22    physical surveillance, statements of accomplices, seizures,

   23    cellular site records.       Let's look at how all of this played

   24    out.

   25               The first source of evidence I want to focus on and
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     1   weave some of these other things in are the wiretaps.            And in

     2   their own words, the defendants in this case told you how the

     3   conspiracy worked, how they joined the conspiracy, and how they

     4   advanced it.     I want to focus specifically -- you heard about a

     5   lot of transactions with Chris Tate.         I want to look at four of

     6   them.

     7              The first one is the delivery of eight ounces of

     8   meth from Jovan Stewart to Danielle Dowling at the America's

     9   Best Value Inn on December 19th, 2019.         Chris Tate sent Stewart

   10    to deliver eight ounces of meth to Dowling at that location.

   11               And let's pull up the chart that I prepared first, and

   12    there's also a surveillance chart, which was introduced as

   13    Exhibit 404, if we could put them side by side.

   14               Okay.   So looking at the chart on the left, this is

   15    kicked off on December 19, when Tate tells Danielle Dowling

   16    that he's going on a plane at night and he wants to, pardon the

   17    French, "Get some shit and leave with my cousin."           He asks

   18    Dowling, "What do you think you're needing?"          Danielle Dowling

   19    said she's going to use about -- need about three or two pounds

   20    of meth.

   21               And Dowling tells him exactly what she's going to do

   22    with the meth.     She's going to distribute it to her customers.

   23    One of her customers, Capone, took some meth to Brownsburg and

   24    to her Shelbyville people last night.         Danielle Dowling talked

   25    about how she had to sell some things to her Chicago people.
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     1   So there's an agreement here between Tate and Dowling where

     2   Tate is going to give Dowling the meth and she's going to

     3   distribute it to her customers, and it's eventually going to go

     4   to her customers' customers.

     5              Dowling says, "I need to get around to everybody,"

     6   that's for sure, all of her customers.         And Chris Tate really

     7   wants to help her get the meth to the customers.           He says," If

     8   I wasn't at work, man, I swear to God, just take one and we

     9   could just ride to all of them people."          But Chris Tate has to

   10    get on an airplane that night, so Danielle Dowling talks, then,

   11    about the amount of meth her customers will need.

   12               We get to 5:04 at night, and Chris Tate tells Dowling

   13    again he's leaving at 8:00 and is going to leave some for cuz,

   14    for Jovan Stewart, to deliver to Dowling.          So the drugs are

   15    going to go from Tate to Stewart to Dowling.          And Dowling

   16    specifies who her customers are that he needs to get the meth

   17    to, Ogre, Ryan Sawyers, Hollywood, Eric Poore, and Big Head.

   18               Going an hour later, Dowling tells Tate, "I need eight

   19    ounces of meth."      Tate tells her to call when she gets the

   20    money and they'll meet somewhere.         Dowling says, "The money is

   21    at the Waffle House," right there in that same parking lot.

   22    Ryan Sawyers, also known as Ogre, was staying at the America's

   23    Best Value Inn, and he had had the money to pay for the drugs.

   24    He was going to get them eventually.

   25               Fast-forward to 7:18.      Dowling tells Tate she was 15
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     1   minutes away, Tate tells Dowling that Jovan Stewart is eight

     2   minutes away, and Tate specifically asked Dowling about the

     3   black Jeep.

     4              Rolling over to the surveillance chart, we see that

     5   the last call was at 1943, at 7:43 at night.          The black Jeep is

     6   there.    We look at the surveillance chart, and we know, from

     7   the surveillance, that Jovan Stewart drove from Willow Bend

     8   Drive, parked at the America's Best Value Inn, where Dowling's

     9   white Solara was, and then drove away a minute later.            And then

   10    Danielle Dowling drove away.        So Dowling testified that they

   11    met and completed the eight-ounce transaction.

   12               The second one I want to talk about is three days

   13    later.    On December 22nd, Chris Tate sent Jovan Stewart to

   14    deliver 22 ounces of methamphetamine to Dowling at a Kentucky

   15    Fried Chicken restaurant.

   16               And if we have those two charts, please, side by side.

   17               Looking on the left is the first chart that summarizes

   18    the phone calls.      Dowling is calling Tate, who's out of town,

   19    and says, "One person asked me for 20 zips," 20 ounces of meth.

   20    Tate then says, "I can get you 20 of them in a four, too."

   21    Dowling says, "The ones I got last night were really good."

   22    And Tate says, "There's like ten whole ones left from that."

   23               So Tate's source has ten pounds of methamphetamine

   24    that are similar in quality to the ones that Danielle Dowling

   25    got the previous night and left.        She changes her order an hour
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     1   later and asks for 22 ounces of meth, and Tate says he'll have

     2   cuz meet his brother on the south side.          So cuz is going to go

     3   to the meth source to get the 22 ounces.

     4              Five minutes later, Tate tells Dowling to wait 15

     5   minutes and then to go to the KFC on South Emerson.            Dowling

     6   changes her order again to 27.        Tate says, "I can't do 27, but

     7   I can have them come back and bring five later."           And Dowling

     8   says, "I'll just wait till I collect everyone's money at the

     9   KFC."    So that's at 3:08.

   10               What do we see happening at the KFC?         At the -- at

   11    4:19 p.m., the Spotless Car Wash, which is next door, we see

   12    Jovan Stewart's black Jeep and Sawyers' silver Saturn there.

   13    Danielle Dowling pulls up and meets with Sawyers and drives

   14    over to the KFC restaurant, where Jovan Stewart has moved to,

   15    as well.

   16               Dowling, at 4:27, gets out of her Solara, enters the

   17    Jeep Liberty, and she's holding a plastic bag that you could

   18    see, that contained meth, inside of the Jeep Liberty.            She then

   19    gets out of the Jeep Liberty, goes back into her Solara, meets

   20    with Ryan Sawyers, and they drive away.          Danielle Dowling says

   21    that they drove away to a hotel room, which is where she gave

   22    the 20 ounces of meth to Sawyers.

   23               Again, this is how the conspiracy worked.          Tate gives

   24    the meth to Stewart with the agreement that he'll give it to

   25    Dowling.    Stewart then gives it to Dowling.        Dowling gives it
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     1   to her customers.

     2              The third deal I want to talk about is on

     3   February 7th of 2020 at                               in Indianapolis,

     4   and that's when Chris Tate delivered a pound of meth and an

     5   ounce of heroin to Eric Poore.        And we get some insight in this

     6   buy as to who Chris Tate got the drugs from.

     7              At 12:31, Tate tells Poore that he could get the red

     8   ones that Poore had been getting for 27.          So the type of meth

     9   that Poore had been getting, he was selling for $2,700 a pound.

   10    Tate offered to bring it to Poore, and he said he would be

   11    there within an hour, and again pardon the language, "because I

   12    got to go get the shit."

   13               At 12:33, Tate asks Poore if he also wanted a single

   14    of the old man, an ounce of heroin.         Poore says, "Yeah, come

   15    with it."    Tate asks how long it would be, because last time it

   16    took ten days.     He fronted the heroin to Poore, and Poore took

   17    ten days to pay him.      Poore said it wouldn't take that long.

   18               So then we look at the surveillance chart.          11 minutes

   19    later, a surveillance officer sees Tate go into

   20                       , which is where Darrell Stennis lives with Tia

   21    Dimmett and keeps his drugs.        About a half-hour later, Tate

   22    arrives at Stone Mill Drive in a black Ford -- his black Ford

   23    Fusion.    He gets out of the Fusion, he goes into Stone Mill

   24    Drive.    10 minutes later he comes out, reenters his Fusion,

   25    and drives away; okay?       So we see Chris Tate on the video
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     1   taking the meth and the heroin into Stone Mill Drive and coming

     2   out.

     3              The fourth chart that I want to look at is a deal on

     4   February 17th at Chuck's Market, and it again involves

     5   Mr. Stennis and Mr. Tate.       This time they're delivering a pound

     6   of meth to Danielle Dowling.

     7              At 1:16 in the afternoon, Dowling asks Tate, "Is there

     8   any way I can see you?"       And Tate says, "At 3:00."       Tate says,

     9   "I'll just have him drop it off at my job and then at 2:50 just

   10    go to Chuck's Market."       So the source is going to drop off the

   11    meth and then Tate will meet Dowling at 2:50.

   12               Dowling is texting, then, one of her meth customers,

   13    James Unger, and says, "I have to meet my guy at 3:00 to get

   14    more," more meth, and will come straight there to meet Unger.

   15    Dowling, at 3:13 in the afternoon, calls Chris Tate.            She's

   16    running a little bit behind, and says she'll be there in three

   17    to four minutes.

   18               We then swing over to the surveillance chart, and at

   19    3:15, after that phone call, Tate drives away in his black Ford

   20    Fusion from his workplace.       Four minutes later, Dowling is at

   21    Chuck's Market, and Dowling gets out of her car and gets into

   22    Tate's black Fusion.      So we have Tate and Dowling in the car.

   23               Who arrives four minutes later?        Darrell Stennis,

   24    driving his dark blue Impala, leaves Elizabeth Street and at

   25    3:27 p.m. arrives at Chuck's Market.         Chris Tate goes from his
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1283

     1   black Ford Fusion into Stennis' blue Impala, and he comes out

     2   carrying a bag and gets back in the Fusion.          Dowling, still in

     3   the Fusion, leaves the Fusion carrying something under her arm.

     4   She gets back in the black Saturn, and everyone drives away.

     5              Danielle Dowling testified about what she got inside

     6   of the black Fusion, that it was a pound of methamphetamine.

     7   So here's how the agreement works, Stennis giving the drugs to

     8   Tate to give to Dowling to resell.

     9              I also want to talk now about how the wiretap showed

   10    two transactions that involve Sandra Kellogg.           The first one

   11    is a deal on January 15th of 2020, when Aaron Brown delivered

   12    an ounce of meth to Ms. Kellogg at a CVS store.

   13               So let's pull up Government's Exhibit -- or pull up

   14    the chart, please.      And if you could put the surveillance

   15    chart, Exhibit 418, beside it.

   16               So on January 15, Kellogg calls Tate and says, "I'm

   17    going to hit you because I need two."         At first she orders two

   18    ounces of meth.     She tells Tate she'll be there tomorrow,

   19    she'll be in Indianapolis around 2:00 or 3:00 in the afternoon.

   20    Tate tells Kellogg, "I'll probably have you run into Peso."

   21    Okay?

   22               So, that -- that transaction happens on the 15th --

   23    I'm sorry.    I have these wrong on the chart.        When you look at

   24    the third entry on down, it should say January 16th.            I made

   25    these up last night in haste.
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1284

     1              On January 16th, at 11:54, Kellogg tells Tate she'll

     2   be in Indy at around 2:00 or 3:00.         Later on the 16th, Tate

     3   says, "I'll probably have you run into Peso."           An hour later,

     4   Kellogg changes her order.       She goes from two ounces of

     5   methamphetamine to one.       Tate tells Kellogg to head to the

     6   Burger King on 38th and Illinois and call when she's 10

     7   minutes away.

     8              At 5:42 in the afternoon, Kellogg tells Tate she's 10

     9   minutes away and is in a blue Chevrolet Impala.           That's the

   10    same blue Chevrolet Impala that Dwyatt Harris has driven to

   11    collect drugs for Kellogg on several indications.

   12               Seven minutes later, Kellogg tells Tate she's going to

   13    go across the street from the CVS.         Why?   Because the police

   14    have someone pulled over right here at this Burger King.             After

   15    all, who wants to do a drug deal in front of the police; right?

   16    Not the best idea in the world.        Five minutes later, Tate tells

   17    Kellogg that she -- he directed the customer -- or the runner

   18    to go to the Subway.      Kellogg asks if it's Peso.       Tate says,

   19    "No, it's cuz."

   20               So then we slide over to the surveillance chart.           And

   21    what do we see going on during this -- these conversations?             We

   22    see the blue Impala arrive at Burger King, drive across the

   23    street to the CVS, where we see Kellogg step outside of the

   24    vehicle.    And she's identified as the passenger of the blue

   25    Impala.    We saw that in the videos.
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     1              Harris then drives the blue Impala from the CVS to the

     2   Subway restaurant.      A gray Chrysler 300 arrives, Aaron Brown

     3   gets out of it, goes inside of the Impala and meets with Sandra

     4   Kellogg.    The blue Impala drives away and Brown goes back into

     5   the Subway.     We later are able to identify Dwyatt Harris as the

     6   driver of the car when he's pumping gas into the blue Impala at

     7   a gas station; okay?

     8              After the deal happens, so Aaron Brown gets out of the

     9   Impala at 6:05.     At 6:05, Kellogg asks Tate, "Was that the

   10    person?    I left my phone in the car."       Okay, that's an

   11    interesting text message, because this deal on January 15th is

   12    the first time that DEA has seen Aaron Brown doing any drug

   13    transaction with Kellogg.

   14               Why would Sandra Kellogg have seen Aaron Brown before?

   15    Are they social friends?       Is there any evidence whatsoever that

   16    she and Chris Tate are social friends, that they get together?

   17    No.   The evidence suggests they're all drug dealers.           And the

   18    reasonable inference from this is that she has -- before the

   19    wiretaps started in December, she's done other deals with Chris

   20    Tate, with other drug runners, including Aaron Brown.

   21               And that's also supported by the fact that on

   22    December 18th, 2019, during the first deal that Kellogg does,

   23    they talk about the Kellogg dude in dreads arriving and they're

   24    looking out for a white Mercedes; okay?          No, no, no, it's a

   25    blue Impala.     Well, that's because, I suggest to you, during an
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     1   earlier deal Mr. Harris had driven his white Mercedes to get

     2   the drugs for Ms. Kellogg, and now they're confused because

     3   it's a blue Impala, and that's the car he drove.

     4              So, Ladies and Gentlemen of the Jury, the evidence

     5   suggests that this dealing between Mr. Kellogg and --

     6   Ms. Kellogg and Mr. Tate started well before December 18th, and

     7   it was ongoing drug activity.

     8              The next thing I want to look at on this January 15

     9   deal are some of the text messages that were found in

   10    Exhibit 625, which is Ms. Kellogg's cellular phone, and she's

   11    texting back and forth with somebody named J.           So after the

   12    drugs are picked up on the 15th -- they're picked up at 6:05;

   13    okay?    Before the deals are picking up, on line 3, J is saying

   14    he or she wants to, "swing by for lunch or dinner ASAP, a whole

   15    meal."    And Agent Holbrook gave his opinion that the "whole

   16    meal" was an ounce of meth; okay?

   17               And then J says, well, "ASAP," meaning whenever,

   18    tomorrow or whenever.      Kellogg then says, "I'll try to do it

   19    today, but tomorrow for sure.        I will get it to you as soon as

   20    it's in my hand."      That's a suggestion that there's more than

   21    lunch or dinner.      What do you mean, the lunch or dinner is in

   22    your hand?    No.   It's an ounce of meth.       It's the whole meal.

   23               We continue through the 15th.       And then at 5:31 p.m.,

   24    she tells J, "I'm going to grab it tomorrow.          Is that cool?"

   25    And then later on, at 5:47, Kellogg asks J, "What time are you
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     1   coming tomorrow?"      J says, "Right after work, at about 5:30 or

     2   6:00."

     3              And then we continue to the following day.          J asks,

     4   "Are you still on for today?"        Kellogg says, "Yes.      I'm on my

     5   way now."    So this evidence shows that the ounce of meth that

     6   Aaron Brown gave to Kellogg was transported together by Kellogg

     7   and Dwyatt Harris back to Silver Lake, Indiana, where she would

     8   deliver the methamphetamine, the ounce of meth, to J.            The

     9   cellular site records, which were admitted as Exhibit 645, back

   10    up that that's the path of travel that occurred.           They show

   11    Kellogg and J together in the early morning and returning and

   12    driving back to Silver Lake, Indiana.

   13               The next deal that I want to talk about is on

   14    February 6th of 2020.

   15               Let's pull that one up.

   16               Okay.   And on February 6th of 2020, this is a deal

   17    where Chris Tate had a drug runner deliver an ounce of meth to

   18    Ms. Kellogg at the Country Club Apartments.          On the 6th, at

   19    4:25 in the morning, Kellogg texts Tate and says, "I'm going to

   20    need you again."      Kellogg then asks where she's going and Tate

   21    says, "The Country Club Apartments at Mason and Troy."

   22               At 6:03, Tate directs Kellogg to go to the office over

   23    there.    And at 6:22, Kellogg tells Tate, "I'm driving right by

   24    the office."     I'm not going to put it on the screen, but you

   25    saw the cell site records for Sandra Kellogg's phone, that she
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     1   was within a half a mile of the Country Club Apartments at the

     2   time that call happened.       So, Kellogg meets the source, meets

     3   Tate's drug runner at the Country Club Apartments around 6:22.

     4   And then at 7:17, Kellogg thanks Tate for getting the drugs.

     5   "Thank you, bro.      See you next time."     So, what is Ms. Kellogg

     6   going to do?     She's going to sell the drugs, collect the money,

     7   and get money to buy more meth from Chris Tate next time.

     8              Now, Kellogg complains a little bit about the meth.

     9   She says, "Let bro know it was a couple off," a couple of grams

   10    under 28.35 grams, "but I'm not tripping.          Just for the next

   11    time."    So the next time she gets drugs from Tate, she wants to

   12    get a full ounce of meth.       She doesn't want to get shorted

   13    again.    But Kellogg says it looks better than the one from

   14    earlier, it looks better than the ounce she got last time.

   15    Tate says, "Okay, be safe."

   16               So then we go to Exhibit 626 and we look at text

   17    messages between Sandra Kellogg, Dwyatt Harris, and someone

   18    named Trish the next day.       And they indicate what Sandra

   19    Kellogg was doing with the meth, specifically what she and

   20    Dwyatt Harris had agreed to do with the meth, what they

   21    conspired to do with the meth that they got from Indianapolis.

   22               So when you look at these text messages, on text

   23    message seven Trish tells Sandra Kellogg that she needs, "the

   24    same."    Kellogg doesn't understand.       Trish says, "Two ounces."

   25    Who does Kellogg call?       Dwyatt Harris.    "Hey, Trish called,
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1289

     1   they need two, so they're coming for them.          So maybe bring

     2   three just in case."      Trish talks to Kellogg on the 7th and

     3   says in the, "morning?"       And then Kellogg tells Harris, "All

     4   right."    And they talk about Trish not wanting to come late and

     5   go through Porter County after a certain time, so they're going

     6   to do the deal on the next day.

     7              If we could pull up Exhibit 6 -- I'm sorry,

     8   Exhibit 646 and maybe put it on the left-hand side.

     9              We see Dwyatt Harris' pattern of travel, as well as

   10    Ms. Kellogg.     On the 6th, Ms. Kellogg is down in Indianapolis,

   11    she's picking up the first ounce of meth at Country Club Drive,

   12    and she returns to -- the Country Club Apartments, and she

   13    returns to northern Indiana that night.

   14               On the 7th, in the afternoon, she's in Silver Lake.

   15    Where is Dwyatt Harris at 11:40?        He's in Indianapolis.      Then

   16    he shows up in Silver Lake at 8:42.         And, incidentally, after

   17    that, Trish consummates the next deal with Sandra Kellogg for

   18    the two ounces of meth.       So this is the agreement between

   19    Kellogg and Harris to deal the meth that they're getting from

   20    Chris Tate.

   21               The next source of evidence I want to speak about are

   22    the accomplices.

   23               And we can clear the screen.       Thanks.

   24               The first accomplice testimony is Danielle Dowling.

   25    Danielle Dowling testified that from the summer or fall of 2019
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     1   until February 21st of 2020, when Tate was arrested, she got

     2   one to two pounds of methamphetamine per day from Chris Tate.

     3   She also got heroin infrequently.         On one occasion, you heard

     4   the phone calls, and she was fronted two ounces of heroin.

     5   That's probably the largest deal they did.

     6              These methamphetamine deals between Tate and Dowling

     7   followed a regular pattern.       The agreement unwound in a regular

     8   pattern.    Dowling called Tate on the phone to order the meth,

     9   she would then meet Tate and Jovan Stewart at different

   10    locations, Stewart often drove Tate, and Tate would deliver the

   11    meth from her.     This was an ongoing, long-term drug dealing

   12    relationship.     It was not just a series of isolated deals.

   13               Chris Tate needed Danielle Dowling to sell the meth

   14    and make money.     We talked on one hand about how fronting

   15    supports a conspiracy.       Fronting supports a conspiracy because

   16    drug dealer one gives the money for free to drug dealer two.

   17    Drug dealer two sells the drugs and then pays drug dealer one

   18    the money for the sale.       A conspiracy exists because drug

   19    dealer one is depending on drug dealer two to sell the meth to

   20    get paid.

   21               Despite the fact that this is not a fronting

   22    relationship, the same dependence exists, and it exists in this

   23    way:   Every day for many months, Tate is selling Dowling one or

   24    two pounds -- one to two pounds of meth a day.           What does

   25    Danielle have to do after she buys a pound to get more drugs
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     1   from Chris Tate?      She has to sell the pound of meth that she

     2   bought.    She sells the pound of meth that she bought, she

     3   collects the money, and Chris Tate sells her another pound of

     4   meth.    Chris Tate doesn't get to sell her the other pound of

     5   meth unless Danielle Dowling has sold the previous pound of

     6   meth.    So, just like the fronting relationship, Chris Tate

     7   depends on Danielle Dowling to sell the meth that she's getting

     8   from him.

     9              Desirae Evans is the next accomplice I want to talk

   10    about.    She testified that she got a pound of meth from Chris

   11    Tate on about ten different occasions.         The first five times,

   12    it came through Lacey Guzman, and those five deals included the

   13    pound of meth that she got at                                     when --

   14    on the same day that Jalisco delivered a pound of meth to the

   15    DEA informant, Adela Marcelino-Cruz.         We heard testimony about

   16    that deal from both Marcelino-Cruz and Desirae Evans, and it

   17    happened on November 21st of 2019.

   18               After Lacey Guzman was unreliable, Desirae Evans dealt

   19    directly with Chris Tate about five times.          The first three

   20    deals were a pound of meth.       Then there was a smaller fentanyl

   21    deal.    And then the two pounds of meth happened early on

   22    February 21st, where Desirae sent Bruce to get the meth, and

   23    Bruce got the two pounds, left it in the storage unit, and was

   24    then stopped by the police.       She also talked about how she and

   25    Chris Tate used FaceTime to try to avoid detection from law
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1292

     1   enforcement.

     2              The third accomplice witness was Tia Dimmett.          She was

     3   the girlfriend of Darrell Stennis.         She talked -- she dated

     4   Mr. Stennis through January and up until February 2020, and she

     5   said that Stennis brought 20 to 25 bricks, that were wrapped in

     6   duct tape, into her house on several occasions from

     7   January 2020 until his death on February 20th of 2020.            She

     8   testified that during those couple of months, she saw Darrell

     9   Stennis deliver one or two bricks to Chris Tate about ten

   10    times.    About half of the time, the deals happened at Chuck's

   11    Market.    About half of the time, Chris Tate came to her house

   12    at                                  .

   13               She also saw Mr. Stennis, after the deals happen,

   14    collect money from Chris Tate.          She described the four-inch wad

   15    of money that had 20s and 50s in it and was banded together.

   16    And there was no drug deal when the money was paid, so this

   17    implied that Stennis fronted the meth to Chris Tate.

   18               She also described the events of February 21st of

   19    2020, that Mr. Stennis died the day before and left 15 of those

   20    bricks remaining at her house in a pillowcase.           Who did she

   21    call to help move the bricks?        The person that she had seen

   22    before getting the bricks from Darrell Stennis.           She called

   23    Chris Tate.

   24               Chris Tate agreed to help.       It's a chance to get

   25    money.    He shows up at first and gets eight of the 15 bricks.
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     1   Tia Dimmett takes the other seven bricks to her grandmother's

     2   house.    Chris Tate returns after getting the eight bricks and

     3   gives Tia Dimmett $10,000.       Tia is later robbed of the $10,000

     4   by Darrell Stennis' friendly relatives, who you heard about.

     5   But this is corroborated by Desirae Evans' testimony that she

     6   got two of those pounds of meth delivered to the storage

     7   facility, to Bruce Lyons, earlier that day.          I'd suggest that's

     8   two of the eight pounds of meth that Chris Tate took.

     9              So there's seven bricks still left at Periwinkle.

   10    Chris Tate, Jovan Stewart, and Tia Dimmett drive together to

   11    Periwinkle.     At first they get two of the bricks out of

   12    Periwinkle, that Mr. Tate delivers to Twon, to Antwan Coleman.

   13    And, again, you saw the video.        He walks -- Antwan Coleman

   14    walks up to the house, looking normal.         A few minutes later, he

   15    comes back, and there's this big bulge in his hoodie.            And we

   16    know that's the two pounds of meth.

   17               Coleman gets in the car and drives off, Tate takes a

   18    lap around and comes back.       Tia Dimmett gets the last five

   19    bricks out of the house.       Tate and Stewart are going to drive

   20    with Dimmett to deliver the meth to who?          To Danielle Dowling

   21    and Eric Poore.     But they're stopped on the way with five --

   22    with the bricks, five pounds of meth.

   23               Looking at the seizures as a source of evidence.           We

   24    have seizures from Chris Tate, the five pounds of meth that's

   25    found underneath his feet, on the floorboard in the front
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     1   passenger side of the vehicle, where he's the front passenger

     2   on February 21st.      We have 11 ounces of meth seized from Sandra

     3   Kellogg at her house on March 19th.         It's packaged into ounces

     4   for distribution, along with the other implements of the drug

     5   trafficking business, Baggies and digital scales.

     6              She also, on that same day, gave a confession that

     7   those 11 ounces of meth came from a one-pound deal that she got

     8   from Chris Tate a few days before -- or from her source a few

     9   days before.     We know that source is Chris Tate by looking at

   10    the text messages that were sent from Ms. Kellogg's phone to

   11    three cellular phones that were seized from Chris Tate's house.

   12               THE COURT:    You've used 60 minutes, Counsel.

   13               MR. BLACKINGTON:     We saw the text messages between

   14    Kellogg and Tate that led up to the deal, and we also saw the

   15    $375 that were found in Dwyatt Harris' pocket.

   16               Ladies and Gentlemen of the Jury, we've -- I've talked

   17    about the evidence in the case, but I want to go back to

   18    something that we talked about that happened, you know, that we

   19    talked about on day one of this trial, and it's really, really

   20    important, the presumption of innocence.

   21               The defendants, at the beginning of the trial, are

   22    cloaked in the presumption of innocence.          The government has

   23    the duty to prove that the defendants are guilty beyond a

   24    reasonable doubt.      We embrace that burden of proof, and I'll

   25    tell you why I embrace that burden of proof.
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                            CLOSING ARGUMENT / BLACKINGTON            Vol. 7-1295

     1              As a college student -- well, we hear a lot today

     2   about Russia.     They're obviously getting ready to invade the

     3   Ukraine; right?     I traveled to the Soviet Union and I spent

     4   three months there in the summer when I was in college.            I'm

     5   dating myself.     It was the Soviet Union back then.         The burden

     6   of proof was different there.        People got arrested, and they

     7   had to prove themselves innocent.         They carried the burdens of

     8   proving themselves innocent.

     9              And I met families and people who had disappeared,

   10    relatives that disappeared to the gulags in the Soviet Union

   11    and into work camps.      And that's why the burden of proof is on

   12    the government, and it's beyond a reasonable doubt.            That's

   13    very, very important, and we embrace that burden.

   14               But, Ladies and Gentlemen of the Jury, that cloak of

   15    innocence that we talked about has been removed.           And at this

   16    point the evidence has been presented, and the defendants stand

   17    before you for what they are.        They're both drug dealers.

   18    They're part of a conspiracy to distribute methamphetamine and,

   19    with Mr. Tate, also a little bit of heroin.          And they're also

   20    guilty of all of the counts that are charged in the indictment.

   21               I thank you for your attention during this trial, and

   22    I'll get the opportunity to talk to you again for a few minutes

   23    after the defense lawyers give their closing arguments.            And,

   24    again, I'd ask you to give the defense lawyers the same kind

   25    attention that you've given me.        Thank you very much.
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     1              THE COURT:    All right.    Thank you.

     2              Mr. Riggins?

     3              MR. RIGGINS:    Your Honor, could we have a brief

     4   restroom break before we get started?

     5              THE COURT:    Yes.   We'll go ahead and have a brief

     6   restroom break.

     7              Ladies and Gentlemen, you're not to begin any

     8   deliberation, and no discussion, and we'll have you back in

     9   about 10 minutes.

   10               THE COURTROOM DEPUTY:      All rise.

   11         (Jury out at 11:13.)

   12               THE COURT:    All right, guys, quick restroom break.

   13               MR. RIGGINS:    Thank you, Your Honor.

   14         (Recess at 11:14, until 11:22.)

   15               THE COURT:    Before we bring the panel in --

   16               You can go ahead and get them, Tanesa.

   17               COURTROOM DEPUTY:     Okay.

   18               THE COURT:    Mr. Blackington, you were supposed to have

   19    e-mailed a copy of the superceding indictment that would be

   20    redacted to go back with the jury.         We were going to take out

   21    the enhancements.

   22               MR. BLACKINGTON:     I think we did before the trial

   23    started, but I can certainly do it again.

   24               THE COURT:    Can your people make sure?       Because Tanesa

   25    can't find it.
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     1              MR. BLACKINGTON:      Okay.

     2              THE COURT:    Okay.

     3              MR. BLACKINGTON:      Can I do that after all of the

     4   arguments?

     5              THE COURT:    Of course.

     6              MR. BLACKINGTON:      Okay.

     7              THE COURT:    Of course.      But just make sure we get that

     8   done.

     9              MR. BLACKINGTON:      Okay.   Thank you.

   10               THE COURT:    And Tanesa said unless you sent it maybe

   11    two weeks ago, but she just looked and she doesn't have it.

   12          (Off the record.)

   13               THE COURT:    Ms. Kellogg, remember to keep your mask

   14    up.   Mr. Tate is doing an excellent job keeping his up.           We

   15    don't want the jurors to be nervous, so keep it up.

   16               Remember to talk slowly for the court reporter.

   17               MR. RIGGINS:    I'll try to, Your Honor.

   18               THE COURT:    Okay.   Mr. Blackington naturally is very

   19    slow.

   20               Court reporters love you, Mr. Blackington.

   21               But if you could remember to do that.

   22               And you, too, Mr. --

   23               MR. BLACKINGTON:      I thought they liked me because I'm

   24    nice and charming.

   25               THE COURT:    Well, you're easy to transcribe.
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     1        (Off the record.)

     2              THE COURT:    We're going to put the big clock at 90

     3   minutes, and I'll let you know when you've used -- so you don't

     4   go over your 45.

     5              MR. RIGGINS:    Okay.    Thank you, Your Honor.

     6        (Off the record.)

     7              THE COURTROOM DEPUTY:      All rise.

     8        (Jury in at 11:28.)

     9              THE COURT:    We're back on the record.

   10               And, Mr. Riggins, once everyone is comfortable, you

   11    may begin your closing statement.

   12                              CLOSING ARGUMENT BY:

   13               MR. RIGGINS:    May it please the Court.

   14               Ladies and Gentlemen of the Jury, let me begin by

   15    thanking you on behalf of Mr. Tate for your time over this last

   16    week.    It's been a sacrifice that everybody has made, and he's

   17    greatly appreciative of what you're doing in this case.

   18               Mr. Blackington ended by talking about the presumption

   19    of innocence, and what's important here is that on February

   20    the 7th, when we started this case, Christopher Tate, my

   21    client, was innocent as charged.        He had not been proven guilty

   22    of anything on February the 7th.

   23               And on February the 15th, we're here to tell you,

   24    despite everything that you've seen, despite all of what you've

   25    heard, that he's still innocent, and that the government has
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     1   not met that burden to prove him guilty beyond a reasonable

     2   doubt of anything.      Not just Count 1, not Count 2, not just

     3   Count 3, but of Count 4, as well.         Christopher Tate is

     4   innocent.

     5              When we started this, along our journey, when I came

     6   up and gave the opening statement, I began by telling you this

     7   is a case about relationships, the relationship between

     8   Christopher Tate and Darrell Stennis, the relationship between

     9   Christopher Tate and Tia Dimmett, the relationship between

   10    Christopher Tate and Danielle Dowling.         Now, we mentioned some

   11    other people during the course of the trial, as well, Desirae

   12    Evans.    Many people came in and testified.

   13               I mean, you've got a book that we've gone through,

   14    over 300 different days, I would imagine, or items, 600-plus

   15    pages, all the notes that you've taken along the way, and the

   16    thing that I want you to keep in mind is that what the

   17    government was doing was kind of like taking you in a forest

   18    and naming tree after tree after tree.         And what we all know is

   19    that these are trees.      In order for us to get to the bottom of

   20    this particular case that's before us, about Mr. Tate, we have

   21    to do what was included in the preliminary instructions to you.

   22    We have to bring our common sense into the courtroom with us

   23    and apply it under these circumstances, and apply it in levels.

   24               So what does the government have by way of evidence if

   25    we only -- if we only start with what happened in the witness
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     1   stand?    So let's peel back the layers, and just like the

     2   government when they started with the count possession with

     3   intent to distribute, and they talked about Tia Dimmett on

     4   February 21st, 2020.      Ms. Dimmett came in here, she got on this

     5   witness stand right here, and she tried to convince each one of

     6   you that she was this innocent party who was not involved in

     7   dealing drugs.     And this is important, because those were her

     8   drugs.

     9              And what the government wants you to believe is that

   10    somehow Christopher Tate has a possessory interest in those

   11    drugs.    They found them in his car, that's true.         Maybe they

   12    found them at his foot.       I think the officer's actual testimony

   13    was they were under the seat, with it sticking out toward the

   14    front passenger foot part.

   15               And who was in the backseat?       The lady who sat on this

   16    witness stand, Tia Dimmett.       She was quick to tell you that she

   17    placed the gun under the driver's seat, she told you that.             And

   18    what we know, drug dealers have guns, they have secrecy, and

   19    they never want to accept responsibility for anything that they

   20    do.   So Tia Dimmett took and placed the gun under the driver's

   21    side seat, she admitted to that.        And then, with those tinted

   22    windows, the officer said he couldn't see into the vehicle, she

   23    slid the pillowcase up under the passenger side, still having

   24    dominion and control of the bricks.

   25               You'll have an opportunity, when you go back in the
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     1   jury room, to look at your notes.         I'm not making this up.

     2   Compare what she said to what the officers said.           And then what

     3   is important for you to add in, you've got to take the time and

     4   add in what she was working toward getting by doing what she

     5   said was to testify honestly.        If she was going to testify

     6   honestly to you in this courtroom, she would have told you that

     7   she was not robbed.      She returned the money to the person,

     8   Darrell Stennis' family.       That's not what she told you.

     9              The money that Christopher Tate gave her is money that

   10    she felt that she owned.       And why did she own that money?

   11    Because she was in the drug dealing business.           And she had a

   12    possessory interest in the $10,000 that she said was -- they

   13    placed three guns up to her head.         Come on now.    Three guns?

   14    One gun.    Maybe they told her, "Just give it up."

   15               She told you she started dating him sometime after

   16    November, sometime during the course of December.           And during

   17    the month of January she puts a drug-dealing, purchased

   18    Suburban SUV in her name, and she says she does that because

   19    Darrell Stennis didn't have a driver's license.           That fact was

   20    not confirmed by any other witness.         She put that SUV in her

   21    name because she is a drug dealer.         She reaped the benefits of

   22    being in business with Darrell Stennis.

   23               So when she talks about being robbed of the SUV that

   24    had her name on it in the title, how could you be robbed from

   25    something that you didn't own, that was not yours?            She claims
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     1   that was hers.

     2              Here's the other point that you want to remember as it

     3   relates to Tia Dimmett.       Why did she move the seven pounds out

     4   of her house and into her grandmother's garage?           Why?   I'll

     5   tell you why.     Because she knows how the drug game operates,

     6   and she knows that everybody knows that her and her partner

     7   were no longer in business, or at least as a team, and so she

     8   wanted to move on to the next phase.

     9              If the seven pounds were not hers, and if those seven

   10    pounds belonged to Darrell Stennis, when his family was there,

   11    she could have easily turned the drugs over.          She didn't turn

   12    the drugs over to his family because of why?          It's a very easy

   13    answer.    It's because she felt as though those were her drugs,

   14    her and her partner.

   15               Not only did she take the drugs out of the house, but

   16    she put the pistol in the bag and took the pistol out of the

   17    house, as well.     So she put the gun with the drugs and she put

   18    it in her grandmother's house where no one could trace it,

   19    hiding her life in secrecy, pretending as if she's some

   20    innocent party when she came in here.

   21               If she's going to claim ownership to the money, she

   22    ought to claim ownership to the dope.         She tells you that it's

   23    not her dope, but she was not going to let those seven bricks

   24    ever get out of her sight, or in this case the five bricks that

   25    they got stopped with in the car.         All she had to do was tell
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     1   the officer, when the officer came up, "Look, the drugs found

     2   in the car, those are mine, they belong to me.           I'm the one who

     3   got them out of the garage with the pillowcase and I put the

     4   gun under the seat and the pillowcase under his feet."

     5              Think about it for a second.       At that moment, on

     6   February the 21st, 2020, she had an opportunity to tell the

     7   truth.    It's when her mind was the freshest.        Her memory was at

     8   its best.    She had an opportunity to explain to the police

     9   exactly what was going on.       And you heard the government tell

   10    you, drug dealers operate in secrecy.         So what does she do?

   11    She cleverly pushed the blame onto someone else, and agreed to

   12    cooperate and say otherwise.

   13               Regardless of whatever Christopher Tate's calls set up

   14    he did, he never had dominion and control.          If -- if, and I say

   15    "if" -- if Christopher Tate had allowed himself to have those

   16    drugs in the car without her, then you could start thinking,

   17    yeah, he has dominion and control, but Tia Dimmett wanted to

   18    keep a close eye on her product.

   19               And since she had already gotten one 10,000, she knew

   20    how the game rolled.      She wanted to get 3,000 for each of those

   21    bricks that she had, which would have been a quick 15,000, that

   22    she says she was getting out of town, and maybe she'd be

   23    willing to let them go for less than that.

   24               If, for a moment, you want to believe that somehow

   25    those were Chris' bricks, ask yourself, how much did he make?
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     1   How much did Chris make?       How much money did they find in his

     2   pocket on that day?      Tia Dimmett never told you, "Well, look,

     3   here's his cut, here's my cut."        So if he was working for her,

     4   if he was trying to help her get rid of the bricks, she could

     5   have said, "Well, I told Chris I'd give him 500 on each of the

     6   bricks that he got rid of for me."         But she didn't say that.

     7              What she was doing was trying to rely upon some sort

     8   of perceived innocence and talk very softly when she came into

     9   the courtroom, as if she had nothing to do with dealing drugs.

   10    She allowed Darrell Stennis to bring that dope into her house

   11    after dating him only a month -- or less than a month.            She

   12    didn't say exactly when she started letting him bring it over

   13    there.    She reaped all the benefits of the drug dealer and

   14    didn't suffer any of the burden.

   15               Remember I asked her those questions on

   16    cross-examination?      I didn't say much during the course of the

   17    trial, but remember I asked her the question, because I wanted

   18    to know, "How is it that you can look in your kitchen and never

   19    have noticed there's a red cup on the top of your cabinet?"             I

   20    cook a lot, I know where everything is in my kitchen, and I'm

   21    sure my wife would say the same thing.         She knows where

   22    everything is in that kitchen.        She didn't know there was a

   23    mixer there and she didn't know that there was a red cup

   24    sitting on top of the cabinet.        That is a lie, Ladies and

   25    Gentlemen.
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     1              In addition to that, the gun box.        She tried to act

     2   innocent about that.      You saw the gun box, where the government

     3   found it.    And the money counter.       Now, if Darrell Stennis

     4   didn't live there a lot, why did all that equipment happen to

     5   be inside her residence?       I asked her, was anyone else's name

     6   on the lease, and her answer was no, her name was the only name

     7   on that lease.     She had dominion and control over that

     8   property.    Everything in that property belonged to her, the

     9   drug paraphernalia, the drug equipment that was necessary to

   10    engage in the drug business, and the dope that was found at a

   11    later time.

   12               All she had to do was give -- if she didn't have any

   13    ownership interest in the property, all she had to do was give

   14    it to Darrell Stennis' family when they showed up.            "Here's his

   15    SUV, here's his dope, here's his money, here's the equipment

   16    that he kept inside my house."        But, no, that's not what

   17    happened.    She came in and wanted to push the blame on someone

   18    else.    And if she was going to testify honestly, what she would

   19    have said was she told the police officers, when they stopped

   20    the car, that she's the one that put the bag into the car.             She

   21    gave the bag to whomever and put it in the car.

   22               Christopher Tate, he didn't have a grandmother's house

   23    with the drugs in the garage.        Let's think about that for a

   24    minute.    What drugs did they find in Christopher Tate's home?

   25    Were there any drugs packaged up?         They didn't find any of that
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     1   stuff at his house, because he's always at work.           All these

     2   witnesses came through here, all the testimony you heard, all

     3   the investigation, and the one thing that you did hear about is

     4   that Christopher Tate was going to Mi-Tech.

     5              He was getting up at 4:00 in the morning to go to

     6   work.    He worked all day.     There's not many people that can say

     7   that, only one other person, and that's Dwyatt Harris.            He went

     8   to work.    I don't know how often or how long he had a job, but

     9   we know that Christopher Tate was a hard-working person.             He

   10    took time to leave at lunch to go meet over at Chuck's Market.

   11               No doubt that they have him spotted, no doubt that

   12    he's doing transactions, but that -- that's not conspiracy.

   13    That's not what a conspiracy is.        Conspiracy is when you have a

   14    vested interest in your partner that you're doing business

   15    with.    It's some sort of more than just a transaction.

   16               The U.S. Attorney talked about Krispy Kremes.          I like

   17    to think about Costco and Walmart, something I can relate to.

   18    When you go to Costco, you buy in large quantities.            It's not

   19    unusual for you to see somebody buy 20 cases of Coca-Cola.             And

   20    when they buy the 20 cases of Coca-Cola, Costco knows that

   21    they're going to take those cases and sell them, a smaller

   22    store somewhere.      They sell them singles, maybe in a 12-pack or

   23    something like that, but they're going to be resold.            So ask

   24    yourself, does Costco have a vested interest in that person who

   25    comes and buys that product, even though they know they're
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     1   going to resell the product?

     2              You're going to receive an instruction that talks

     3   about a buyer and a seller, and in that instruction it's going

     4   to tell you that doing transactions with an individual does

     5   not, in and of itself, make you a part of a conspiracy.            It's

     6   clean, it's arm's length.

     7              Look at your notes and reflect.        How many fronting

     8   opportunities did Christopher Tate engage in based on the

     9   witnesses who came in here and testified?          Go through your

   10    notes.    Take your time and go through the transcripts, as well,

   11    the actual fronting acts that took place between Christopher

   12    Tate and anyone.

   13               Christopher Tate was moving, he was doing

   14    transactions, but he was getting his money and moving on, and

   15    he did a lot of talking on the phone.         But in the end, Danielle

   16    Dowling said there was one transaction that she remembers him

   17    doing as fronting.      Desirae Evans said none.      You didn't hear

   18    any of those transactions of fronting at it relates to

   19    Ms. Kellogg.

   20               So where is the conspiracy?       Is the conspiracy

   21    somewhere between Jovan Stewart and Christopher Tate?            If it

   22    is, maybe we could see some more information.           How did the

   23    relationship between them work?        We need to know more about

   24    that relationship.      Who was invested in whom?

   25               If Christopher Tate had Jovan Stewart running errands
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     1   for him, and he was paying him, that means that there's nothing

     2   more than that.     It's a payment for a service, if that's the

     3   case, but we don't know exactly what is the case.           There's not

     4   enough evidence.      In all of the wiretaps, there's nothing

     5   captured that explains the relationship between Jovan Stewart

     6   and Christopher Tate.

     7              We hear Stewart talking about coming from out behind a

     8   building, giving somebody a bad address, but they didn't front

     9   the dope to the person when they did that.          He paid cash on the

   10    barrel.    Those are arm's length transactions, the same like

   11    going to buy at Costco.       You got the money or not?

   12               Now, if Costco were to extend a credit card to you and

   13    you could run a bill with Costco, then Costco would need you to

   14    go sell those items and come back and pay your bill.            So what

   15    did the government try to tell you?         The government tried to

   16    tell you that as it relates to Danielle Dowling and Christopher

   17    Tate, he needed her to go sell her drugs and come back and make

   18    another purchase from him.

   19               That's interesting, because remember the name Anthony

   20    Burroughs?    Clifford King?     Remember those two names?       Those

   21    were suppliers to Danielle Dowling.         Clifford King also went by

   22    "Zo."    And what she mentioned to you was that Zo gave her

   23    credit.    Ms. Dowling told you she liked dealing with

   24    Christopher Tate because he was punctual, he was reliable, and

   25    he was professional, cash on the barrel, arm's length
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     1   transaction.     There's no conspiracy, not in the least bit.

     2              Read the instruction.      It's there.    You see, you have

     3   to throw it all out in the middle of the floor and then count

     4   it, and if it doesn't add up to whatever, the hundred, whatever

     5   somebody said it was supposed to be, then it's necessary to

     6   reevaluate the situation.       We can go back and play all those

     7   tapes.    You can go back and record all of them.         And, in fact,

     8   if you take a look at them, you'll see there's only really

     9   seven days out of all these recordings that we have, there's

   10    only seven days of focus of Jovan Stewart, seven days.            When

   11    you go back, look at these transcripts, because it's there.

   12               When it comes to Danielle Dowling, go back and look at

   13    it.   She says she was doing business every day.          Ms. Dowling

   14    says she was selling pounds every day.         Count the number of

   15    days that she came in contact with Christopher Tate, and then

   16    you'll see she was not dependent upon selling her drugs and

   17    going back to Christopher Tate.        Ms. Dowling was going to the

   18    best person she could find.       I counted 24, but you count them

   19    for yourself.     And the hard reality is, is that if you play

   20    those 24 days' worth of calls over and over and over, there's

   21    300 of them in those three binders that you have, at least,

   22    somewhere in that neighborhood, but it boils down to 24 days.

   23               Ms. Dowling explained to you that she was dealing with

   24    Clifford King and Anthony Burroughs.         She talked so fast on the

   25    wiretap, so slow in court, that you know she had to be using
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     1   drugs.    Come on.    She was high on those drugs.

     2              And remember, remember I showed her the guideline

     3   table?    There was a reason why I showed her the guideline

     4   table, because at the bottom of the table there's a number 43

     5   in the category I, which is the first one in the left-hand

     6   column.    And you have that exhibit, you can go back there and

     7   look at it.     When you look at that position, if you take it

     8   down to the bottom row, you see life.         Life.

     9              And I asked her, "Do you know what life means?"           She

   10    said, "Life means life."       And then she tried to tell you she

   11    didn't know it until she got to court that day.           Testify

   12    honestly.    And you're going to go from life to 14 years?           A

   13    whole lot of motivation in that, from a possible life sentence

   14    at the high end to what she's expecting is 14 years.            Out of

   15    her own mouth.

   16               She can't remember which one of the people she was

   17    buying and getting drugs from.        If she did it every day over a

   18    three-month time period, it couldn't have been Christopher

   19    Tate, because, as you count them up -- count them up -- there

   20    are 24 days, I believe.       But you count them on your own.        That

   21    means the other 90 days, the other 90 opportunities were

   22    somebody else.     It's not Mr. Tate.

   23               And if you want to throw Mr. Tate in there with all of

   24    the other stuff that she had going on, that's different.             You

   25    did not see 15 people connected to Mr. Tate like you saw 15
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     1   people who were distributors for Ms. Dowling.           I asked her each

     2   and every name on that sheet that I had, and what was her

     3   response?    Yes, yes, yes, yes, yes.       Fifteen times she answered

     4   yes.   "Did you deal drugs to the following person?"

     5              And remember, in her network, she fronted the drugs to

     6   the people.     If you examine one of the phone calls, you'll

     7   remember that there was a gentleman at 3600 on College who was

     8   trying to get his money together to repay her for some drugs

     9   she fronted to him.      And she was trying to get -- purchase some

   10    drugs from Christopher Tate.        And Tate could have easily said,

   11    "Hey, come get it, and then, you know, pay me later," but he

   12    didn't.    She had to pay cash on the barrel.        "I don't care

   13    where you get the money from, who you get it from, you got to

   14    pay cash on the barrel."       That's not a conspiracy.

   15               Tate wanted to know, was Hollywood good for it?

   16    That's a credit check.       All he was doing was running a credit

   17    check.    There's no execution of that transaction, that I

   18    recall.    Maybe you recall.     Look at it and see.      The evidence

   19    is before you.     You got all the stuff.      Peel back the layers,

   20    listen to the testimony, or look at your notes that you had

   21    from the testimony that happened on this witness stand.

   22               Seven days' worth of calls and information with Jovan

   23    Stewart, 24 days' worth of calls, texts, information with

   24    Danielle Dowling.      And the question is whether that amounts to

   25    conspiracy, not whether they did a transaction, a drug deal on
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     1   each of those occasions.       We all saw and heard, clearly some

     2   drug dealing going on.

     3              Now, not everybody sees exactly the same thing,

     4   because what's interesting is the young lady who spoke Spanish,

     5   who came in, and we had an interpreter, who was quick to

     6   testify about she could identify Christopher Tate, and was able

     7   to identify him in the courtroom, identified him as about her

     8   height, 5'3".     If she got that wrong, what else did she get

     9   wrong?    She said his hair was about shoulder length.          Clearly,

   10    you saw his dreads.      His dreads were all the way down to his

   11    waist, almost.     She was nervous, she was working for the police

   12    and trying to get as much information as she could, but she was

   13    nervous.    Whether that was Chris Tate or not, we don't know.

   14    That's in question.

   15               But we didn't hear from Lacey Guzman, who was

   16    evidently in the room; and we didn't hear from the other person

   17    who was in the room, so it could have been anybody's drugs who

   18    came in and did those transactions and moved on.           The drugs

   19    that they found on that occasion do not belong to Christopher

   20    Tate, and they didn't prove it.        That's the most important

   21    thing.    It was not proven, not at all.

   22               The other count is a Jovan Stewart count.          It's not a

   23    Christopher Tate count.       And at some point people need to be

   24    held accountable for what they did along the way.           Christopher

   25    Tate is innocent of Count 1 by far, conspiracy.           No doubt about
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     1   it.   Was he transacting drugs?       Yes.   You could hear it, you

     2   saw it.    I'm not hiding it from you.       The question is

     3   whether -- was it a conspiracy?        It's a very easy answer.       The

     4   answer is no.     No to the conspiracy, no to Danielle Dowling, no

     5   to Desirae Evans, no to Darrell Stennis, no to Jovan Stewart,

     6   no to all of those people that we talked about.

     7              He had a relationship.      So, like I said when I came in

     8   and I did my opening, I told you that we were going to talk

     9   about relationships, that in order for you to make a

   10    determination as it relates to each of the counts that

   11    Christopher Tate is charged with, is that you have to examine

   12    the relationships between him and the parties that were there.

   13    Who had a direct connection to Christopher Tate?           And how can

   14    we evaluate the evidence as it relates to those individuals?

   15    It comes up woefully short.

   16               For the people who came in and testified and blamed

   17    others, shame on them.       Danielle Dowling testified honestly.

   18    She gave everything she had.        She didn't hold anything back.

   19    She was very straightforward about what she said.           The most

   20    important thing that she said, as it relates to Christopher

   21    Tate, is that he didn't front her, and if he did, it was one

   22    time.    That's not a conspiracy.      Don't be fooled by anything

   23    other than that.

   24               There's no advice to her.       I asked, "Was there any

   25    advice that Christopher Tate would give you on how to run your
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     1   business better?"      "No."   There was no advice that Chris Tate

     2   told her on how to cut the drugs and make it go further, no.

     3   Was there any advice that Chris told her to look out for law

     4   enforcement?     No.   It's not there.     There's no red cup found in

     5   his car, there's no mixture of any heroin, methamphetamine, or

     6   anything else found at his house or in his vehicle.            There's no

     7   weapon found on him, his person.

     8              There was a gun found at his girlfriend's house.

     9   There's nothing illegal about having a gun in your house if

   10    you're licensed to carry it, but there was no gun found on him,

   11    on his person.     If he was truly the drug dealer that they say,

   12    that kind of drug dealer, he would always have a weapon on him.

   13    Instead, what was he doing at least eight hours of his day,

   14    every day?    He was working at Mi-Tech.

   15               And I asked them, "Did you have any idea how many

   16    hours that Chris Tate worked in a day?"          And the answer was,

   17    "No."    I mean, if you're going to follow him, if you're going

   18    to put a surveillance on him, why wouldn't you sit down and

   19    watch him at work, see how long he actually stays there, how he

   20    interacts with individuals.       There's no investigation about

   21    that.    There's no information that was given to us about that.

   22               We see Chuck's Market as a meeting place, but what we

   23    don't see is something more than just a transaction.            When you

   24    go back into your room and you deliberate, I ask you to look at

   25    all the evidence.      Take the time and go through and summarize
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                               CLOSING ARGUMENT / RIGGINS             Vol. 7-1315

     1   the evidence.     Funnel it down into a workable format.

     2              Don't get caught up with them showing you tree after

     3   tree after tree, which in this case indicates transaction after

     4   transaction after transaction after transaction.           Pull it back

     5   and say, "Show me the transactions where both parties are

     6   invested in this transaction."        And when you discover that you

     7   can't reach that burden, hold them accountable.           Say, "Not this

     8   time."

     9              I'm going to end the same way that I started.          Tia

   10    Dimmett was a drug dealer who didn't want to take

   11    responsibility for the drugs that she possessed.           She had

   12    several opportunities to tell Darrell Stennis' family, the

   13    police, and then you the truth, and she chose not to tell

   14    anybody the truth.      She was deceptive with his family, she was

   15    deceptive with the police when she was arrested.           And then,

   16    when she came in here, she wouldn't admit that she -- it was

   17    her money counter, her red cup, her mixer, her kitchen, her

   18    lease, all in her name, and the SUV.         Hold her accountable, but

   19    not Christopher Tate.

   20               When you get your verdict form, there's going to be a

   21    space on there that has "Guilty" and a space on there that has

   22    "Not Guilty."     As it relates to Christopher Tate in Count 1,

   23    Counts 2, 3, and 4, I'm asking you to mark either a checkmark

   24    or an "X" in "Not Guilty" on each of the counts.

   25               Unfortunately, the government didn't meet its burden.
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1316

     1   They welcomed that burden and they didn't meet it this time.             I

     2   thank you for your time.

     3              THE COURT:    All right.    Thank you, Mr. Riggins.

     4              Mr. Thomas, you may give a closing statement on behalf

     5   of the defendant, Sandra Kellogg.

     6              MR. THOMAS:    Thank you, Your Honor.

     7                             CLOSING ARGUMENT BY:

     8              MR. THOMAS:    I am happy to have that off and happy to

     9   have a chance to talk to you all today.

   10               I had remarks ready to give, I've been practicing a

   11    little bit, but I really have to start in a different spot

   12    because I have to tell you that just because the federal

   13    government says something doesn't make it true.           And just

   14    because the Assistant United States Attorney tells you

   15    something, that doesn't make it true.

   16               It's important to note that your job is to evaluate

   17    the evidence that you heard and apply the law as the judge

   18    gives it to you in the instructions.         That's it.    And, in fact,

   19    in your final instructions, you're going to be commanded that

   20    you must make your decision only on the evidence that you saw

   21    and heard here in court, and that the evidence includes only

   22    what the witnesses said when they were testifying under oath

   23    and the exhibits that were allowed to be admitted, and any

   24    stipulations that the parties made.         That is the evidence, the

   25    testimony, the exhibits, the stipulations.          Nothing else is
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1317

     1   evidence.    Lawyers' statements and arguments are not evidence,

     2   thank goodness.

     3              Now, there were several things that Mr. Blackington

     4   said to you.     Some of them are important and some of them

     5   aren't, but several times he tried to lead you down a path

     6   about things that were never testified to here.           He said

     7   several times, "I suggest to you," "that you can infer," "what

     8   does this mean?"      Well, that's his opinion, that's all well and

     9   good, but you're not to base your decision on his opinion.

   10    Just because the federal government says it doesn't make it

   11    true.    It's the evidence that you heard.

   12               So I'm going to get back to a couple of things, but

   13    just for example, he threw out, "Well, apparently Christopher

   14    Tate knew that Mr. Harris used to drive a different car, and

   15    Ms. Kellogg knew Mr. Brown," or thought she did.           Actually, she

   16    didn't say she knew Mr. Brown.        She asked, "Is that the same

   17    guy I met before?"      She never -- it was never clear whether it

   18    was.    She was just asking, "Hey, do I know this guy?          Is he the

   19    same guy that I met before?"        That's the evidence.

   20               What Mr. Blackington took from that is, well, you can

   21    infer that there were lots of prior drug deals.           That is

   22    nonsense.    There is no evidence at all of prior drug deals from

   23    the evidence that you heard, and you are not allowed to just

   24    speculate about something because Mr. Blackington suggested

   25    it's true.
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1318

     1              "The $375 that was in Mr. Harris' pants pocket, well,

     2   that must be evidence that he sold drugs."          There's no evidence

     3   of that at all.     He had a job.     He worked at Jiffy Lube, as

     4   most drug dealers do, I believe.        There's no evidence as to

     5   where that money came from.       You can speculate all day, but

     6   when you base your rulings on the evidence, you can't come to

     7   that conclusion.

     8              And there are several other things that were

     9   mentioned, that I'm going to touch on, but I wanted to touch on

   10    that first and foremost, and that is suggestions.           When anybody

   11    says, "I suggest to you," that should be kind of a big red flag

   12    that you didn't hear that in the evidence.          You know what it

   13    is.   You heard a lot of evidence in this case.

   14               I told you at the beginning of the trial that this was

   15    going to be a hard case as it relates to Ms. Kellogg, and you

   16    were going to have a hard job.        And I've worried about it,

   17    because what I'm asking you to do as a juror is something that

   18    not everyone has the capacity to do, and that is asking you to

   19    do a very specific job that you were brought here to do.

   20               And that very specific job is to determine whether or

   21    not Sandra Kellogg was in a drug distribution conspiracy with

   22    Chris Tate.     Not whether she's a good person, not whether she's

   23    made bad decisions, not whether she used to be a criminal, was

   24    a criminal, is a criminal, has done bad things.           I'm not asking

   25    you that.    I'm asking you to determine whether, from the
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1319

     1   evidence that you heard, that she conspired, that she agreed,

     2   with Christopher Tate to distribute drugs for him.            That's the

     3   way Mr. Blackington put it, Sandra Kellogg sold meth for Chris

     4   Tate.    That's the accusation.

     5              Why is that hard?     Because plenty of people can't do

     6   it, honestly.     There are plenty of people that would look and

     7   say, "Yeah, okay, I see that.        You know, I don't see an

     8   agreement here, I don't see that Mr. Tate has any kind of

     9   vested interest in what she's doing, I understand.            You know,

   10    this is a buyer/seller relationship and the law is going to

   11    tell me that that doesn't mean it's a conspiracy.           I get all

   12    that, but, clearly, she was selling drugs up north, so I'm

   13    going to find her guilty."       Well, that's wrong, and you can't

   14    do that.

   15               And that's hard for some people.        Some people could

   16    never get past that.      Look, she did something wrong, she did

   17    something wrong, but you are here to decide this very specific

   18    case.    And I hope you all can do that.       And I think you can.

   19    But you understand my concern is that some people can't, so

   20    when you're deliberating, it's about this case, not every other

   21    case, not whether she's a good person or not.           And the fact is

   22    that the government is not going to make its case as it relates

   23    to her in a conspiracy.

   24               We did hear a lot of evidence in this case over

   25    several days.     I think it's important to note most of it had
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1320

     1   nothing to do with Sandra Kellogg.         Of all of the people who

     2   came in and testified about their various dealings, none of

     3   them mentioned Sandra Kellogg.        In all of the recordings, you

     4   have conversations between Sandra Kellogg and Christopher Tate,

     5   but you never hear Sandra Kellogg's name mentioned by any of

     6   the others in any of the other transactions.

     7              Now, I guess Mr. Blackington's theory is that that's

     8   because everyone is, I believe his word was,

     9   "compartmentalized."      Well, of course, nobody knows anybody

   10    else in a drug deal, everybody is very careful, and you're on a

   11    need-to-know basis.      Was he in the same room with the rest of

   12    us when we heard all of these tapes, all of these recordings?

   13               All of these people knew each other.         They were all

   14    cross-pollinating.      "I'm going to ask Guzman about Hollywood,

   15    I'm going to ask Dowling and Hollywood to go together."            They

   16    all knew where each other lived.        You know, "Come on over to

   17    the house," says Hollywood.       Mr. Tate doesn't say, "What are

   18    you talking about?      We're compartmentalized.      I don't know

   19    where you live."      He says, "No, I'll be right over."        He knows

   20    multiple places where Ms. Dowling lives.          Now, that doesn't

   21    make them co-conspirators.       That makes them connected.

   22               So this idea that, well, look, Ms. Kellogg, we gave

   23    them a fake address, but that was because nobody knows anybody

   24    in these kind of deals.       Look at the evidence yourselves.

   25    Everybody knew everybody.       When Ms. Dowling is talking, she
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1321

     1   name-drops all kinds of people, all of her 15 customers.

     2   Sometimes it's, "Hey, my customers are going to be at the KFC.

     3   I don't really have the money yet.         Why don't we just do all

     4   this together.     You come meet me, I'll bring my customers,

     5   we'll all get together."

     6              That doesn't sound like secrecy to me.         That doesn't

     7   sound like anybody trying to protect anybody.           That doesn't

     8   sound compartmentalized.       The only thing that I see from this

     9   case -- now, look, Mr. Blackington has a lot of experience and

   10    he's seen a lot of cases.       I'm talking about this case and

   11    these people's conversations, and the idea that they're

   12    compartmentalized is nonsense.        The only person who's kept at

   13    arm's length is Ms. Kellogg and her boyfriend, Mr. Harris.

   14               So this is a conspiracy to distribute controlled

   15    substances.     As it relates to Ms. Kellogg, it is a conspiracy

   16    to distribute methamphetamine.        Because we know, from all of

   17    the testimony and all of the evidence, that there was never an

   18    instance where Ms. Kellogg was involved with heroin or fentanyl

   19    or anything else, so it's a conspiracy to distribute

   20    methamphetamine.

   21               What's a conspiracy?      An express or implied agreement

   22    between two or more people to commit a crime.           What crime?    Any

   23    crime?    No.   A specific crime in this case was to distribute

   24    controlled substances; for Ms. Kellogg, distributing

   25    methamphetamine.      It doesn't require actual unlawful
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1322

     1   distribution.     It's simply an agreement to do so.        As

     2   Mr. Blackington put it, did Sandra Kellogg sell meth for

     3   Mr. Tate?    And that's really what it's about, and that is the

     4   problem with the government's case.

     5              And that's because what we have here between

     6   Ms. Kellogg and Mr. Tate is a buyer/seller relationship.             Now,

     7   fortunately, we have jury instructions, and the jury

     8   instructions tell you all what the law is to apply.            You don't

     9   have to guess and you don't have to decide.          The law is told to

   10    you as to what it is.      And fortunately for Ms. Kellogg, the law

   11    is on her side.

   12               So a conspiracy, you'll be told what the law is, that

   13    a conspiracy requires more than just a buyer/seller

   14    relationship between a defendant and another person; that, in

   15    addition to that, a buyer and seller do not enter into a

   16    conspiracy to distribute controlled substances simply because

   17    the buyer resells the drugs, even if the seller knows that the

   18    buyer intends to resell the drugs.

   19               What the government has to prove -- what moves it from

   20    a transaction to an agreement is that they have a joint

   21    objective in further distributing the drugs, not their

   22    transaction, but agreeing to help one person distribute drugs

   23    further to others, distributing the controlled substance to

   24    others.    And that's going to be in the instruction that you

   25    get.
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1323

     1              Now, what can be evidence of a conspiracy beyond a

     2   simple buyer/seller relationship?         The first thing, number one,

     3   receiving drugs on credit, a front, a float, I'll throw it at

     4   you, receiving drugs on credit.        Mr. Riggins pointed that out,

     5   that once you make a purchase, and whether it's in drugs or

     6   anything else, if I'm simply buying a product, what I do with

     7   it afterwards is not part of the transaction.

     8              You know, Mr. Blackington went through the Krispy

     9   Kreme analogy pretty detailed, and he got all the way down, the

   10    owner, the CEO, the truck driver, the bakery worker, the guy

   11    running the register, but the one guy he leaves out is the

   12    customer; right?      Because the customer is not part of the team.

   13    Important?    Sure.    Do they like having customers?       Yes.

   14               But I'll tell you what.      The way to look at it, if I

   15    go into the doughnut shop and I buy a doughnut, and I've paid

   16    for it, the doughnut shop don't care whether I eat it or I give

   17    it to my kid, whether I throw it in the trash or feed it to the

   18    birds.    They do not care.     They have no vested interest in what

   19    I do with the doughnut after I bought it.          The transaction is

   20    over.    And that makes sense.

   21               If I go into Kroger and buy a gallon of milk, they

   22    don't care if I drink it.       They don't care if I dump it on the

   23    ground.    They might like if I dump it on the ground and come

   24    buy another one.      They do not care.     They don't care if I say

   25    I'm going to open a chocolate milk stand in my front yard and
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1324

     1   I'm going to go to Kroger and I'm going to buy milk and I'm

     2   going to then -- I'm going to sell chocolate milk in the front

     3   yard.    They don't care.     You've already bought your milk, and

     4   they don't care whether you sell any at your stand or not.

     5              And that's important, because that's really what you

     6   have to decide in a conspiracy.        Does the seller have a stake

     7   in what you do later?      You've heard evidence about Ms. Kellogg

     8   buying drugs, no doubt about it.        You've seen evidence that up

     9   north it looked like she was sharing drugs, selling drugs with

   10    other people.     That's not what she's on trial for.         We're not

   11    up north.    That's not what she's on trial for.

   12               So all of that evidence about, "Well, look, clearly

   13    she was going to resell those drugs," the instructions will

   14    tell you it doesn't matter if she was going to resell the

   15    drugs.    Proving that she was a small-time drug dealer is not

   16    why we're here.     It's whether or not she was conspiring to help

   17    Mr. Tate distribute drugs to other people.          Once he gave the

   18    drugs to her, he wasn't distributing anything to anybody.             He

   19    was done.    Every one of her transactions with him was cash.

   20    These are one-ounce deals, except for the last one, and we'll

   21    talk about that for a minute.

   22               But so what are some other reasons, other ways that a

   23    buyer/seller relationship can be a conspiracy?           An agreement to

   24    look for new customers, maybe get a commission on sales for new

   25    customers.    So if Ms. Kellogg is on the phone saying, "Hey, I
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1325

     1   got a friend, you can trust him.        I'm going to bring him over,

     2   he's going to buy drugs from you.         I vouch for him," "Hey,

     3   okay, send him over.      I'll give you a deal next time.        Hey, you

     4   know, send him over, I'll give you 50 bucks, I'll give you a

     5   commission.     I'm helping your business, I'm going to send you

     6   new customers."

     7              One party advising the other party on the conduct of

     8   their business.     "Listen, when you sell those, make sure that

     9   you package them in a certain way.         Make sure you sell the best

   10    stuff to your best customers," something like that.

   11               An agreement to warn of future threats to the

   12    business.    "Hey, you know, I heard the -- I heard that one of

   13    your buddies has talked to the police, you better be careful.

   14    Hey, I heard one of your competitors is trying to steal your

   15    customers."     I'm helping; right?     Some agreement to help the

   16    drug dealer sell more drugs to other people, whatever that

   17    might be.

   18               Now, for Sandra, never a front, always cash up front.

   19    Random sales, six over three months, always initiated by Sandra

   20    Kellogg.    You did not hear, and you're not going to hear, when

   21    you look at these one time where Mr. Tate calls Sandra Kellogg

   22    and says, "Hey, you need anything?         Hey, it's been a while.

   23    Come buy drugs from me."       No.   She calls him, in fact, never

   24    called any of his associates.

   25               These are small sales, these are one-ounce deals.
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1326

     1   This is not part of Mr. Tate's regular business.           We know that,

     2   because we remember Michelle, last name unknown, that's all we

     3   know about her.     Apparently the government didn't care who she

     4   was.   We knew her first name, we knew her phone number, we knew

     5   she drove a white Nissan Cube, but other than that, I guess we

     6   couldn't find her.      But she wanted to buy an ounce, remember.

     7   Mr. Tate, "I don't mess with that.         You know, talk to my buddy.

     8   Talk to Dowling."      Dowling set her up.

     9              Never a discussion of their business.         Was she selling

   10    small amounts of drugs?       It looks like it, up north.       Trish,

   11    J., yeah.    Did she ever talk about that?        Did she ever mention

   12    her customers the way Ms. Dowling mentioned her customers?             Of

   13    course not.     And Mr. Tate never -- expressed no concern over

   14    the quality of the drugs that she received.          Remember -- and

   15    never encouraged her to sell drugs, never told her, "Hey, get

   16    out there and hustle, get back here soon.          You're moving drugs

   17    for me."    Not at all.

   18               Mr. Blackington said there was no evidence that these

   19    folks had a social relationship, Mr. Tate and Ms. Kellogg.             I

   20    would submit that there is evidence that their relationship was

   21    different than the rest of these people.          Remember, when he got

   22    in trouble or thought he might be in trouble, he contacted

   23    Ms. Kellogg, not to sell her drugs, but to say, "Hey, here's my

   24    mom's phone number, here's my dad's phone number, here's my

   25    date of birth in case I'm going in"; right?          "My friend, help
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1327

     1   me out."

     2              Now, did he say, "And make sure your hide all those

     3   drugs," or, "Make sure you go talk to Peso and buy more drugs"?

     4   No, it was nothing about drugs.        It was, "Hey, you know, if

     5   something happens, here's my mom's number."          Who else did he

     6   give his mom's number to?       I would say nobody, certainly none

     7   of his compatriots.

     8              We can look at Dowling versus Kellogg.         Dowling, who's

     9   moving three pounds of drugs a day, every day, transactions

   10    with multiple people.      There's an interactive business between

   11    all of these people, concern about quality.          You know, Tate

   12    tells Dowling, "Hopefully this shit right here," meaning better

   13    quality meth, "we'll get -- you'll get your people back

   14    rolling.    I'm concerned about the quality, I'm concerned about

   15    what you do.     If you -- if you give that poor quality meth to

   16    your people, it's going to F up the money again."           Interactive

   17    business.

   18               They all knew -- they knew where each other lived.

   19    Ms. Kellogg got a bullshit address.         Remember Peso?     "Not only

   20    do we give him a false address, I'm going to sneak out from the

   21    back so he don't know where we're from."          They knew one

   22    another's customers, Tate and Dowling, and as was mentioned

   23    before, at one point Mr. Tate said, "I'll" -- "I wish I could,

   24    I'd help you go deliver drugs."        Now, does that make them

   25    conspirators?     Not necessarily.
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1328

     1              But what it shows is that Ms. Kellogg is in a

     2   completely different place.       You know, when -- with so much

     3   worry about the quality of the methamphetamine, remember when

     4   Peso, during that whole time, when they had good and bad, you

     5   know, Peso said, "What do you want me to give them?"            "I mean,

     6   it don't really matter.       Do whatever you want to do.       It don't

     7   really matter."     Why?   Because he doesn't care.       It's a

     8   one-time deal, an ounce deal, that he doesn't normally do to a

     9   friend of his who contacts him every once in a while to buy

   10    something.    That does not make her a co-conspirator.

   11               Now, is there an agreement between Mr. Harris and

   12    Ms. Kellogg?     Yeah.   It's her boyfriend.      We know that he went

   13    and picked up drugs for her.        We know that.    They had an

   14    agreement together to distribute drugs, which, in and of

   15    itself, is a conspiracy, but it's not this conspiracy.

   16               And you're going to be instructed about that, too,

   17    that if there's more -- if you find there's more than one

   18    conspiracy, ultimately the conspiracies have to be connected to

   19    the larger conspiracy that's being charged here.           What is that?

   20    The conspiracy that Ms. Kellogg has agreed to help Mr. Tate

   21    distribute drugs to others.

   22               And you'll be told that in order to be found guilty of

   23    Count 1, the conspiracy that she was in has to be part of the

   24    larger conspiracy, and it's not.        Why?   Whatever she agreed to

   25    with Mr. Harris, that they were going to do, all occurred after
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                               CLOSING ARGUMENT / THOMAS              Vol. 7-1329

     1   these transactions, cash on the barrel.          What vested interest

     2   did Mr. Tate have in any of this methamphetamine once it was

     3   sold?    The answer is none.

     4              And if he has none, then she's not selling drugs for

     5   him.    He has -- he doesn't care.      He's already got his money,

     6   just like Kroger with the gallon of milk.          I got my money.     You

     7   want to do all those drugs, go ahead.         You want to sell them,

     8   you want to give them to your brother, I don't care.            You know,

     9   and he really doesn't care with her, because these are

   10    one-ounce throw-off deals.       He's a pound guy.      These are

   11    one-ounce deals for an old friend.

   12               So Harris is helping Kellogg, but Kellogg is not

   13    helping Tate.     So all of the discussion about, well, look,

   14    Mr. Harris, maybe he's selling drugs for Ms. Kellogg, maybe.             I

   15    don't know.     That's not part of this case.       There wasn't any

   16    evidence presented about that.        We're only supposed to listen

   17    to the evidence that we heard.        But it doesn't matter, because

   18    what vested interest does Mr. Tate have in any of the stuff

   19    that they're doing in Silver Lake?         None.

   20               So it would be different if this was a front.

   21    "Listen, I'm going to give you these drugs and you go sell

   22    them, and then I'm going to make my money."          Then you're darned

   23    right I got a vested interest in what you do.           I do care.    "You

   24    better not give those drugs to your brother, because those are

   25    my drugs.    You didn't pay for them.       Those are my drugs you're
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     1   selling."    No, these are not his drugs.        She paid for them, she

     2   left.    Buyer/seller, and that's it.

     3              There can be multiple conspiracies, but if she's in a

     4   different conspiracy, an agreement with her boyfriend, that

     5   conspiracy has to be within conspiracy number one.            So don't be

     6   confused, don't get lost.       Don't be someone who says, "Listen,

     7   I think she's a bad person, I think meth is bad, and I'm going

     8   to punish a bad person," because you're a terrible juror if you

     9   do that.    It's not your job.      Your job is very precise, and

   10    that is to hold the government to a burden, beyond a reasonable

   11    doubt, that a conspiracy took place between Ms. Kellogg and

   12    Mr. Tate where she agreed to sell drugs for Mr. Tate, and

   13    that's the way the government put it.

   14               Obviously, she did not for the reasons that she said.

   15    Did she buy drugs?      Yes.   Buyer/seller, as you'll be

   16    instructed, is not a conspiracy.        Did she sell drugs?      It looks

   17    like it.    We don't know that for sure, but from the text

   18    messages, it looks like it.       We don't know.     Maybe she gave

   19    them away.    Was she transacting, was she distributing?          Yeah,

   20    probably, but that's not your job.         That's up north.     That's

   21    for somebody else to decide.

   22               You're to decide this case only, and in this case, I'm

   23    sorry, the law is on my side.        This is a buyer/seller

   24    relationship, there is no vested interest for Mr. Tate.            It's

   25    simply not part of a conspiracy, none of the things that you
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     1   look at, no credit, no worrying about her business, no

     2   encouraging her business.       She's not helping his business.        No,

     3   she's not storing drugs for him, she's not delivering drugs for

     4   him, she's not laundering money for him.          She's calling him

     5   once in a while, "I need something."         "All right, come down."

     6   Now, other people, "Hey, I need an ounce."          "I don't mess with

     7   that."    "All right, Kellogg, I'll help you out."

     8              You know, you're sending your boyfriend, I don't even

     9   know his name.     I don't trust you too much, we're not going to

   10    tell you where we live or anything, but not like -- certainly

   11    not like Ms. Dowling.      Every time she moves to another Airbnb,

   12    because she's out on the lamb as a fugitive, he knows where she

   13    lives.    Nothing like that.

   14               So that's what I would ask you to do, Ladies and

   15    Gentlemen, is the really hard job of coming to the conclusion

   16    that, for whatever she did and the poor choices she made and

   17    the crimes she committed, the one she did not commit is what's

   18    being charged here as a conspiracy.         She did nothing to help

   19    Mr. Tate distribute the drugs that she bought, because once she

   20    bought them, they were hers, and he had no interest in what she

   21    did with them.

   22               It kind of reminds me -- you know, we have our

   23    analogies.    We had Krispy Kreme, of course, we've talked about

   24    that a lot, and Costco.       The one I thought of, I was a kid

   25    growing up in the country.       There used to be a little bread
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     1   company, and they had a little bakery, factory/bakery built,

     2   you know, loaves of bread, nothing major.

     3              But they had a little store, that you could go to the

     4   store and buy, down the street, and they also sold to grocery

     5   stores locally.     But then they also had a little outlet store

     6   at the factory itself.       And that was probably for old bread or

     7   stuff they couldn't sell, I don't remember, but it was a little

     8   different.    It wasn't their store, but it was a little outlet

     9   at the factory.     And these were all part of the same business,

   10    but they were all different.

   11               So in their own store -- they would bake something in

   12    the factory and take it down to the store.          Well, as it relates

   13    to what we're talking about, that's a front; right?            Hey, you

   14    know, you're not buying the drugs down at our store.            We're

   15    just -- or the bread.      We're taking it down there, and when we

   16    sell it, we're going to make our money.

   17               The second kind is, well, we're going to sell bread to

   18    the grocery store.      Now, they may pay cash up front, but

   19    there's an ongoing relationship, there's a contract.            You're

   20    going to sell a certain amount on a certain time, and they're

   21    probably going to have some interest in how they do it.            You

   22    know, we want our bread on the top shelf, we want you to take

   23    it off the shelf after a few days, don't sell stale bread.

   24    There's a relationship there, even if they pay cash.            But then

   25    you've got the outlet, the factory.         And if somebody wants to
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     1   come by and buy a loaf of bread, we'll let them.

     2              And that's kind of what I see going on here.          We have

     3   a big operation with a lot of people, and then over on the

     4   side, for my friend, Ms. Kellogg, she can get an ounce.            You

     5   know, we saw numerous times where there were suggestions of

     6   fronts for other people, whether they happened or not.            "Hey,

     7   if you don't have enough money, figure it out.           You know, bring

     8   what you got.     I'll sell you four for three and a half.         We'll

     9   make up the rest.      Let's figure something out."

   10               Remember, Ms. Kellogg this last transaction, when it

   11    had to be a pound, it's ugly out there.          Mr. Tate said, "It's

   12    got to be a pound."      "Well, I don't have enough money.        I only

   13    got 2,800."     It would have been a perfect opportunity, if

   14    you're co-conspirators, to say, "Bring the 28, we'll settle."

   15    Nope, simple, "No, I want 3 Gs."        "I got 28."     There wasn't

   16    any, "We'll work it out."       There wasn't any, "Bring what you

   17    got, we'll figure it, you'll owe me.         How soon can you have the

   18    rest of the money?"      Nope, "Three, cash on the barrel."        That's

   19    the kind of relationship that these folks had.

   20               So it's clearly a buyer/seller relationship.          There's

   21    clearly no agreement with Mr. Tate beyond the purchases.             This

   22    is the outlet store, not part of their overall operation of

   23    pounds and pounds of meth.       An ounce here or there.       "I don't

   24    sell ounces, but I'll make an exception for my friend."            That

   25    doesn't make her part of the conspiracy.          It makes her stupid,
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     1   it makes her doing the wrong thing, undoubtedly, but it doesn't

     2   make her a co-conspirator.

     3              And the hardest thing for you guys is to put that all

     4   aside, put aside these ideas of, well, you can speculate about

     5   what Mr. Harris was doing and you can speculate about the white

     6   Mercedes and prior drug dealers -- deals, and you can -- you

     7   can't speculate.      The evidence is what it is.       And you apply

     8   what you heard to the law given to you by the judge.            And when

     9   you do, you will see that all of the rest of that is smoke.

   10               It doesn't matter if she was selling drugs.          The

   11    question you have is, was she selling drugs for Mr. Tate.             And

   12    the answer is, no, never, she was not.         And it's clear.     You're

   13    doing the right thing by applying the law.          You're not helping

   14    anyone by throwing out those rules and saying, yeah, but, you

   15    know, the federal government, they worked hard here, they

   16    really want to convict this person.

   17               No.   Look, they bring a case, they show you the

   18    evidence, you decide.      Nobody questions that.       You're not

   19    accountable to anybody but yourselves.         You don't have to

   20    justify what you do.      When you come and see this evidence and

   21    see that it's not proof beyond a reasonable doubt of a

   22    conspiracy, you vote not guilty, and that's the end of it.

   23               The other count is possession.        We'll look at that.

   24    It's all circumstantial.       We do have text messages back and

   25    forth, we do have what looks like a transaction, but none of
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     1   that was taped, none of that was surveilled.          We don't really

     2   even know who brought the drugs there.         So it's very, very

     3   circumstantial.     And you can look at that and evaluate it as to

     4   whether they proved that that happened on the day it happened

     5   in Indianapolis, and what was there was meth.

     6              The important thing is, there was no conspiracy here,

     7   and that's the important thing for you.          And when you go back

     8   and look at everything, remember the law, read the

     9   instructions.     They tell you what the law is, not what

   10    Mr. Blackington wants it to be, not what I want it to be, what

   11    it is.    And the law is clear that simply being a buyer does not

   12    make you part of a conspiracy.        And, like it or not, those are

   13    the rules.    And when you apply them to these facts, there's no

   14    question, no question.

   15               And remember, the last thing, don't get confused about

   16    Ms. Kellogg and her boyfriend, Mr. Harris.          Don't be confused

   17    that, well, they were in a conspiracy, that sounds like a

   18    conspiracy, done.      No.   Their agreement only comes into play if

   19    they were part of the bigger conspiracy.

   20               Now, Mr. Harris clearly is not part of any conspiracy

   21    with Mr. Tate.     He doesn't even know his name.        He's using

   22    Ms. Kellogg's money.      He's just there as a runner to pick it

   23    up.   Now, he's the same as Ms. Bow, the elderly heroin addict.

   24    "Granny out there thugging," I think she was referred to.

   25    Bless her heart.      He's just there to pick it up.       They don't
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     1   even know his name.      They're not even going to give him the

     2   right address.     There's certainly no front.       There's certainly

     3   nothing with Mr. Harris beyond he's going to take those to

     4   Ms. Kellogg.     He's not conspiring with anybody, maybe, other

     5   than Ms. Kellogg.      So it doesn't work that direction.

     6              And, obviously, as I've talked a long time, these are

     7   simply cash transactions.       There's no ongoing arrangement.

     8   There's certainly no front.       There's certainly not a deal every

     9   day.   It's random, two of them two days in a row.

   10               Think about it.     You're Ms. Kellogg, you're a meth

   11    user, a small-time dealer, you live in Indianapolis.            Your

   12    boyfriend lives and works in Indianapolis.          You move back home

   13    to Silver Lake.     You're still a meth addict and a small-time

   14    dealer.    What are you going to do?       Are you going to go out on

   15    the mean streets of Silver Lake, Indiana, and look for meth, or

   16    are you going to call your old friend every once in a while and

   17    say, "Hey, can you help me out?"

   18               Because every one of these, it's her calling him, "Can

   19    you help me out?"      I'll have Mr. Harris do it because he works

   20    down here, he comes up on the weekends.          We saw from the cell

   21    towers, every weekend he comes up to visit.          Why don't we have

   22    him go pick it up because he's already in Indianapolis.            Go to

   23    somebody I know, not somebody new.         That's all there is.      It

   24    doesn't make her part of a conspiracy.         That just makes her a

   25    buyer.    So it makes sense.     You'll see it.     It is what it is.
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     1   She's done wrong, she'll have to answer for that, but not here,

     2   not on this conspiracy, because the law says she's not

     3   conspiring.

     4              So it's going to be hard if you're not smart, but I

     5   think you're all smart.       I think you all can think in the

     6   abstract.    I think you can separate emotion from reality,

     7   emotion from the law, and say, look, in this case that's not

     8   what this is.      I hope you do, because it couldn't be clearer

     9   when you apply the law as it's been told to the facts that

   10    you've seen.     It doesn't make it easy, but it's clear.         I thank

   11    you for your time.

   12               THE COURT:    All right.     Thank you, Counsel.

   13               All right, Ladies and Gentlemen.        Mr. Blackington, you

   14    have 27 minutes left, and it's going to take me about 15 to

   15    read the final instructions, so if anyone needs to use the

   16    restroom, we're going to let you use it back here.            Anybody got

   17    to go?    Everybody can sit for 45 more minutes?

   18               Okay.   All right, Mr. Blackington.

   19               If you want to stand and stretch, feel free to do

   20    that.    At least get your backs in order.

   21         (Off the record.)

   22               MR. BLACKINGTON:     May I, Your Honor?      Are we ready?

   23               THE COURT:    You may.

   24               MR. BLACKINGTON:     Okay.

   25
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     1                             CLOSING ARGUMENT BY:

     2              MR. BLACKINGTON:     Thank you very much, Ladies and

     3   Gentlemen of the Jury.       I appreciate you hanging with us for

     4   the whole length of the trial and this morning.

     5              As the gray hair up here suggests, I've been doing

     6   this for a long time.      I've been a prosecutor for 30 years,

     7   I've done a lot of jury trials, and one of the things I've

     8   noticed in doing these trials is there are several sort of

     9   common strategies that defense lawyers use in their cases, and

   10    I want to discuss with you what some of those strategies are.

   11               The first one is, defense lawyers commonly decide,

   12    you know, there's a lot of evidence against my client, I don't

   13    want my client to be the one on trial, so they try to put the

   14    government witnesses on trial.        Mr. Riggins did that quite a

   15    bit.   He put all of the government's cooperating witnesses on

   16    trial.    Adela Marcelino-Cruz, who he suggested falsified his

   17    identification -- her identification of Chris Tate during the

   18    three controlled buys, and suggested falsified by -- her

   19    testimony by saying maybe it was someone else who showed up.

   20               Let's look at the facts of the case.         Adela

   21    Marcelino-Cruz's testimony doesn't exist on its own.            It was

   22    corroborated by surveillance officers.         Surveillance officers

   23    took videos during some of those controlled buys.           In each of

   24    the buys, they personally identified Chris Tate as being there

   25    for the controlled buys.       And on some of them, they videotaped
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     1   it and you got to see Chris Tate.

     2              The next person they tried -- he tried to put on trial

     3   was Danielle Dowling.      The first thing he does is he talks

     4   about the great deal she's getting, you know, 188 months in

     5   prison, she must think I'm Santa Claus, but the great deal

     6   she's getting and how she's lying.         But then he admits, yes,

     7   Christopher Tate did do a bunch of drug transactions, and at

     8   the end said that her testimony was straightforward.            You can't

     9   have it both ways.

   10               Lastly, she tried -- he tried to put Tia Dimmett on

   11    trial.    And this is the same Tia Dimmett whose boyfriend died

   12    on December 20th.      You know, she's got 15 pounds of meth at the

   13    house.    And, yeah, she wants to make money and get rid of it.

   14    She wasn't trying to blame someone else.          She took

   15    accountability for it.       She wanted some money so she could get

   16    out of town, so she called the person that she knew sold drugs

   17    and conspired with her deceased boyfriend, and did some drug

   18    deals with him.

   19               So what we see here is, there's an effort to put these

   20    government witnesses on trial and create a side show to try to

   21    distract from the facts of the case, but it ultimately comes

   22    back around.     The facts of the case are that Chris Tate was a

   23    big-time methamphetamine dealer, that he was part of a broad

   24    conspiracy, and he's guilty of these offenses.

   25               Another thing that we see quite often are an effort to
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     1   sort of make legal concepts too complex, make them seem really

     2   complicated.     So the effort is to suggest, then, that because

     3   these legal concepts are complicated, a jury can't possibly

     4   figure them out and, you know, you might get confused and

     5   decide to find these people not guilty.

     6              The classic area where defense lawyers try to muddle

     7   things up and make things too complex are with the conspiracy

     8   charge.    And, Ladies and Gentlemen of the Jury, I talked to you

     9   before about the conspiracy charge, and you'll get an

   10    instruction.     It will look much like -- it will look like the

   11    instruction I have on the screen, instruction number 31.             And

   12    it says, "The government must prove each of the following

   13    elements beyond a reasonable doubt:         One, the conspiracy, as

   14    charged in Count 1, existed."        And you'll get to read the

   15    indictment.     And, "Two, the defendant knowingly became a member

   16    of a conspiracy with an intent to advance the conspiracy."

   17    That's it, that's what a conspiracy is.          That's -- it's that

   18    simple, that an agreement to commit a crime existed and each

   19    defendant joined the conspiracy with the intent to further it.

   20               In an effort to muddle up what a conspiracy is, the

   21    defendants -- the defense lawyers talk about the buyer/seller

   22    agreement.    And let's talk about what that is.         And I'm looking

   23    at jury instruction number 35.        Mr. Thomas put this on the

   24    screen.    He also talked about a lot of other things, fronting,

   25    looking out for new customers, advising someone on the conduct
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     1   of business, an agreement to warn about law enforcement, and

     2   suggested to you that we had to prove those things to show a

     3   conspiracy.

     4              Now, Mr. Thomas is right in one regard.         If you can

     5   show some of those things, those do tend to show that there's

     6   an agreement to commit a crime, but that's not something that

     7   we have to prove those four things to distinguish a conspiracy

     8   from a buyer/seller agreement.        What we have to prove is the

     9   buyer and the seller of the drugs.

   10               So let's consider Mr. Tate and somebody else in the

   11    conspiracy, Danielle Dowling, for instance; or Chris Tate and

   12    Sandra Kellogg; or Sandra Kellogg and Dwyatt Harris, had the

   13    joint criminal objective of further distributing controlled

   14    substances to others.      In plain English, what we have to prove

   15    is a seller/seller agreement.        A buyer/seller agreement, of

   16    course, doesn't cut it.       And we've talked about the store where

   17    the doughnuts are sold and a customer walks in and buys some

   18    doughnuts and leaves.      They're just a buyer.      They're not part

   19    of the agreement to sell the doughnuts.

   20               In this case -- and to prove a conspiracy, we have to

   21    show a seller/seller agreement, that both defendants -- that

   22    both people in the conspiracy have agreed to sell drugs.             And

   23    one of the ways we show that, and Mr. Thomas used this

   24    language, that there's a stake, each person, the seller and the

   25    person they're selling to, have a stake in the outcome, a stake
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     1   in the distribution of drugs.

     2              Here we look at the relationship between Chris Tate

     3   and Sandra Kellogg.      Chris Tate certainly has a stake in what

     4   Sandra Kellogg does.      He's making money off of every drug deal

     5   they do.    If he didn't, they're not going to do it; right?

     6   He's in the business for money.        So if Sandra Kellogg buys the

     7   drugs and doesn't sell them, there's not going to be another

     8   drug deal.

     9              We heard the testimony that Sandra Kellogg doesn't

   10    have a job.     So if she doesn't sell the ounces of meth that

   11    she's getting from Chris Tate, she's not going to come back and

   12    get more meth.     There is absolutely a stake that Chris Tate has

   13    in what Sandra Kellogg does, and that's particularly shown by

   14    some -- a couple of text messages in this case, where Sandra

   15    Kellogg drives back to Silver Lake after doing a drug deal and

   16    Chris Tate texts her to make sure she's safe.

   17               Why is Chris Tate concerned about Sandra Kellogg being

   18    safe?    Because he has an interest in the drugs that she took

   19    back to Silver Lake.      If the police have stopped her, she's not

   20    going to be a customer again.        If the drugs don't get back to

   21    Silver Lake, she can't sell them and turn around and do another

   22    drug deal.    So he absolutely has an interest in what Sandra

   23    Kellogg is doing with the drugs.

   24               The same way Danielle Dowling testified, that Chris

   25    Tate had a stake in what she was doing with the drugs.            If she
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     1   didn't sell the drugs, the pounds of meth that she was buying

     2   from Chris Tate, she couldn't turn around and buy more from

     3   Tate, and Tate wouldn't be profiting from their joint venture.

     4              Now, one of the things that Mr. Thomas said, that's

     5   quite interesting, and I'd like you to take it to heart, he

     6   admitted, he told you, yes, Sandra Kellogg and Dwyatt Harris

     7   have an agreement to deal drugs, but he suggests to you it's

     8   not this conspiracy.      He suggests to you it's something else,

     9   and he talks about separate conspiracies.

   10               Well, I want you to read the indictment in this case,

   11    and I want you to read the "Manner and Means" section of the

   12    indictment.     The "Manner and Means" section of the indictment

   13    explains how the conspiracy works, and it will talk about what

   14    Sandra Kellogg's role in the conspiracy is and what Dwyatt

   15    Harris' role in the conspiracy is, specifically that Dwyatt

   16    Harris' job was to pick up methamphetamine from Jovan Stewart

   17    and others and give them to Sandra Kellogg so that we could --

   18    that Kellogg could sell them, that he -- that he was a runner

   19    for Sandra Kellogg.      So go ahead and please read the indictment

   20    and the "Manner and Means" section, and you will see that that

   21    agreement that Mr. Thomas admitted that Kellogg and Harris have

   22    is part of the charged conspiracy in this case.

   23               Another thing that I don't want to leave out here, in

   24    the beginning of his closing argument, Mr. Thomas suggested

   25    that I had no business telling you about inferences from the
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     1   evidence or suggesting how the evidence can be construed.             He

     2   was particularly concerned when I asked you to make

     3   inference -- an inference or a deduction about how the $375

     4   went into Mr. Harris' pants pocket.

     5              Now, that doesn't stop him from making inferences.

     6   That didn't stop him from saying, "Well, he worked at Jiffy

     7   Lube."    You know, the last time I checked, most employers like

     8   Jiffy Lube don't hand you a band of cash when you leave work.

     9   Your money gets direct deposited.         But he was upset about the

   10    inference I asked you to make about where those $375 came from,

   11    and particularly that, because we were down from 16 to 11

   12    ounces of meth, that one of those ounces or more might have

   13    been sold by Mr. Harris.

   14               Well, here is what the judge will tell you about

   15    inferences.     "Give the evidence whatever weight you feel it

   16    deserves.    Use your common sense in weighing the evidence and

   17    consider the evidence in light of your own everyday experience.

   18    People sometimes look at one fact and conclude from it that

   19    another fact exists.      This is called an inference.        You are

   20    allowed to make reasonable inferences so long as they are based

   21    on the evidence."      So, absolutely, Ladies and Gentlemen of the

   22    Jury, feel free to look at the evidence and draw reasonable

   23    conclusions on what you see.

   24               And this is important in this case, Ladies and

   25    Gentlemen of the Jury.       The ability to make inferences, the
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     1   ability to think, is why you're here.         Back when the founding

     2   fathers wrote the constitution and created our judicial system,

     3   they had a couple of choices.        You all sit in court, and you've

     4   been here for a week and a half, and you've watched Judge

     5   Pratt; okay?     All of you, I'm sure, have concluded, as I have

     6   for the last 12 years I've practiced in front of her, that

     7   she's a terrific judge.       She is.   So you ask the question, why

     8   are we here?     Why can't an outstanding judge, like Judge Pratt,

     9   simply hear the case and decide if these people are guilty or

   10    not?    Why do we have to be here?

   11               We're here because of a conscious decision that the

   12    founding fathers made.       The founding fathers wanted to bring

   13    democracy into the courtroom, but they were faced with a

   14    dilemma.    On one hand, you have people like Judge Pratt, who

   15    are well educated in the law and understand the law.            So we've

   16    got to, on one hand, have someone understand the law.

   17               But then there's the question of interpreting facts;

   18    okay?    You all, before you walk in the courtroom, may not know

   19    what the law is, and that's the purpose of these instructions.

   20    Judge Pratt gives you these instructions and tells you what the

   21    law is.

   22               The founding fathers trust all of you to make

   23    reasonable inferences, to think, to use your common sense and

   24    apply the law, take the law that Judge Pratt gives you and

   25    apply it to the facts in this case.         So, yes, you are allowed
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     1   to make reasonable inferences.        You are allowed to listen to

     2   these phone calls and interpret them and figure out what's

     3   happening.

     4              So at the end of the day, Ladies and Gentlemen of the

     5   Jury, I want you to fulfill the duties that the founding

     6   fathers have imposed on you.        I want you to go back into the

     7   jury room and use your common sense to deliberate in this case

     8   and apply the facts to the law.

     9              When you get in the jury room, you'll be given a

   10    verdict form, and I have a copy of that verdict form here.

   11    You'll actually get one, two, three, four, five, six stapled

   12    verdict forms; okay?      And it's not as -- it's not as high a

   13    mountain as it looks.

   14               The first verdict form deals with Count 1, conspiracy

   15    to distribute controlled substances.         So it will ask you, with

   16    regard to Chris Tate, is he guilty or not guilty?           It will ask

   17    you to look at the evidence, all the phone calls you heard, and

   18    all the testimony you heard.        Is he guilty of the offense of

   19    conspiracy?     Did he agree to commit a crime with someone else?

   20    Did he join an agreement?       And I'd ask you to look at the

   21    evidence and check that box that he's guilty.

   22               Then you're given some additional questions.          The

   23    first question is, has the government proven, beyond a

   24    reasonable doubt, that the conspiracy, as a whole, the

   25    conspiracy involved 500 grams or more of a mixture or substance
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     1   containing meth.      Well over 500 grams alone was seized from

     2   Chris Tate's car, so, yes.

     3              And then it will instruct you to skip question 2 since

     4   you answered yes, and go to question 3.          Did the government

     5   prove, beyond a reasonable doubt, that the conspiracy involved

     6   50 grams or more of actual methamphetamine?          Again, more than

     7   50 grams of actual meth was found in Chris Tate's car, so the

     8   answer is yes.

     9              The next one will involve Sandra Kellogg, and it will

   10    look a lot like Mr. Tate's, the verdict for Count 1 of

   11    conspiracy.     Again, how do you find Sandra Kellogg?         Based upon

   12    the repeated drug transactions she had, the evidence clearly of

   13    her agreement with her boyfriend, Dwyatt Harris, to take the

   14    drugs back to Silver Lake and redistribute them, the verdict is

   15    guilty.

   16               And, again, we're looking at the conspiracy as a

   17    whole.    She did move more than 500 grams of meth.         There's, you

   18    know, 435 grams in a pound, and if you add up the other ounces,

   19    you're over 500.      But you'll be instructed that you look at the

   20    weight of the conspiracy as a whole.         So, again, yes, it's over

   21    500 grams; and, yes, it's over 50 grams of actual meth.            You

   22    have that in her house.

   23               Next we look at Count 2, and that's the distribution

   24    of methamphetamine during the last of the three controlled buys

   25    that Adela Marcelino-Cruz did.        I reminded you about accomplice
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   1   liability, as well, but you can find, certainly, Christopher

   2   Tate took the drugs and gave them to Lacey Guzman, who gave

   3   them to Jalisco, who gave them to the informant, Adela.            So you

   4   can find the guilt based on either Tate giving the drugs to

   5   someone else or aiding and abetting Jalisco and giving the

   6   drugs to the informant.      So, yes, verdict of guilty, did it

   7   involve 50 grams or more of actual methamphetamine.          The

   8   attorneys agreed, in a stipulation, it was over 400 grams of

   9   actual meth, so you'll check that box.

 10               Next is Count 3, which is possession of

 11    methamphetamine with intent to distribute.         And this is the

 12    traffic stop from Chris Tate's car.        Now, Mr. Riggins wants you

 13    to think that that's Tia Dimmett's drugs; all right?          But

 14    here's an instruction that you will get.         It's the instruction

 15    dealing with possession, and it's instruction number 46.

 16               So let me move the verdict form for a second.

 17    Instruction 46, "A person possesses an object if he or she has

 18    the ability and intention to exercise direction or control over

 19    the object, either directly or through others.          A person may

 20    possess an object even if he or she is not in physical contact

 21    with it," or, "does not own it."

 22               He is exercising -- he took the meth from Tia Dimmett

 23    and put it underneath the seat, is the testimony, but he's

 24    clearly exercising dominion and control over it and has the

 25    ability to do so.     And how do we know that?      He's calling
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   1   Danielle Dowling and Eric Poore offering to sell them the meth.

   2   So he's guilty of possessing that methamphetamine with intent

   3   to distribute.

   4              And when you go to the second page, you'll be asked if

   5   it involved 50 grams or more of actual methamphetamine.           Again,

   6   the agreement was the lab tests showed it was over 1,900 grams

   7   of actual meth, so I'd ask you to check that box yes.

   8              And then the next one you don't have -- you can skip.

   9              Next is Count 4, which charges Chris Tate with

 10    distributing methamphetamine.       And that's the March 15th deal

 11    in Indianapolis, where he gave the pound of methamphetamine to

 12    Sandra Kellogg -- or he -- I'm sorry, he had a drug runner do

 13    it, so he aided and abetted that drug runner in making the

 14    delivery.    He's guilty of it.

 15               And, once again, is it over 50 grams or more of actual

 16    methamphetamine?     The lab tests showed that the meth at Sandra

 17    Kellogg's house, which was just 11 of the 16 ounces, was over

 18    like 300 grams of actual meth.       It was like 99 percent pure.

 19    So the answer is yes.

 20               The last count is Count 5, which is possession with

 21    intent to distribute.      Sandra Kellogg possesses drugs in

 22    Indianapolis that she got from Tate, the pound of meth, and she

 23    intended to distribute it.      Mr. Thomas suggested to you that,

 24    well, she intended to distribute it up in Silver Lake, so it

 25    didn't matter.
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   1              I want you to read instruction 45, which talks about

   2   the elements of the offense.       And in the elements, did she

   3   possess meth, did she intend to distribute it to another

   4   person, and did she know that it was a controlled substance?

   5   It doesn't indicate where she intended to distribute it.           It's

   6   an element, and it isn't an element.        The question is, did she

   7   intend to distribute the substance to another person.

   8              And that is absolutely the case, Ladies and Gentlemen

   9   of the Jury.    When you look at the weight, it's a pound, the

 10    fact that she took the drugs back to Silver Lake, and just

 11    about three days later there's five ounces of it missing.           What

 12    did she do with the five ounces of meth?         What did she and

 13    Dwyatt Harris do?     We know there's 375 bucks in Dwyatt Harris'

 14    pocket, so there's, again, a reasonable inference about what he

 15    did.

 16               Did she use five ounces?      Well, what did Danielle

 17    Dowling and Desirae Evans tell you?        They use a gram a day.     If

 18    you used an ounce, it would kill you.        So she either sold it or

 19    the Easter bunny took it, one of the two.         Let's make a

 20    reasonable inference on what she did.        And look at how the meth

 21    was packaged.     It was packaged for distribution in ounce

 22    quantities, and she had the scales and the Baggies in the

 23    bedroom with her.

 24               So the evidence shows she's guilty, and I'd ask you to

 25    check that box.     And the lab results show, that the parties
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   1   stipulated to, it was more than 50 grams of actual

   2   methamphetamine.

   3              So I'd ask you, Ladies and Gentlemen of the Jury, to

   4   go back to the jury box (sic) and do what our founding fathers

   5   wanted you to do when they brought democracy into the

   6   courtroom.    Use your good old-fashioned common sense, follow

   7   the law that Judge Pratt gives you, and use your common sense.

   8   And I'm confident that when you do so, you will find all of the

   9   defendants guilty of all of the charges beyond a reasonable

 10    doubt.   Thank you very much for your time.

 11               THE COURT:   Thank you, Counsel.

 12               All right, Ladies and Gentlemen, at this time I'm

 13    going to give you your final instructions on the law.           Is

 14    everybody okay?

 15               Court Reporter, are you okay?

 16               THE REPORTER:    Just fine.

 17               THE COURT:   All right.    You may follow along on the

 18    screen or you can just sit back and listen.

 19               Members of the jury, I will now instruct you on the

 20    law that you must follow in deciding this case.          I will also

 21    give you a copy of these instructions to use in the jury room.

 22    You must follow all of my instructions about the law, even if

 23    you disagree with them.      This includes the instructions I gave

 24    you before the trial, any instructions I gave you during the

 25    trial, and any instructions I am giving you now.
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   1              As jurors, you have two duties.        Your first duty is to

   2   decide the facts from the evidence that you saw and heard here

   3   in court.    This is your job, not my job or anyone else's job.

   4   Your second duty is to take the law as I give it to you, apply

   5   it to the facts, and decide if the government has proved each

   6   defendant guilty beyond a reasonable doubt.

   7              You must perform these duties fairly and impartially.

   8   Do not let sympathy, prejudice, fear, or public opinion

   9   influence you.     In addition, do not let any person's race,

  10   color, religion, national ancestry, or gender influence you.

  11   You must not take anything I said or did during the trial as

  12   indicating that I have an opinion about the evidence or about

  13   what I think your verdict should be.

  14              The charges against the defendants are in a document

  15   called a second superceding indictment.          You will have a copy

  16   of the second superceding indictment during your deliberations.

  17              The second superceding indictment in this case

  18   charges, in Count 1, that the defendants committed the crime of

  19   conspiracy to distribute controlled substances.           Counts 2 and 4

  20   charge Defendant Christopher Tate with distribution of

  21   methamphetamine.      Count 3 charges Defendant Christopher Tate

  22   with possession of methamphetamine with intent to distribute.

  23   Count 5 charges Defendant Sandra Kellogg with possession of

  24   methamphetamine with intent to distribute.          The defendants have

  25   pled not guilty to the charges.
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   1              The second superceding indictment is simply the formal

   2   way of telling the defendants what crime or crimes they are

   3   accused of committing.       It is not evidence that a defendant is

   4   guilty.    It does not even raise a suspicion of guilt.

   5              Each defendant is presumed innocent of each and every

   6   one of the charges.      This presumption continues throughout the

   7   case, including during your deliberations.          It is not overcome

   8   unless, from all the evidence in the case, you are convinced

   9   beyond a reasonable doubt that the defendant is guilty as

  10   charged.

  11              The government has the burden of proving each

  12   defendant's guilt beyond a reasonable doubt.          This burden of

  13   proof stays with the government throughout the case.            A

  14   defendant is never required to prove his or her innocence.             He

  15   or she is not required to produce any evidence at all.

  16              You must make your decision based only on the evidence

  17   that you saw and heard here in court.         Do not consider anything

  18   you may have seen or heard outside of court, including anything

  19   from a newspaper, television, radio, the Internet, or any other

  20   source.

  21              The evidence includes only what the witnesses said

  22   when they were testifying under oath and the exhibits that I

  23   allowed into evidence, and the stipulations that the lawyers

  24   agreed to.    A stipulation is an agreement that certain facts

  25   are true.
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   1              In addition, you may recall that I took judicial

   2   notice of certain facts that may be considered as matters of

   3   common knowledge.      You may accept those facts as proved, but

   4   you are not required to do so.

   5              Nothing else is evidence.       The lawyers' statements and

   6   arguments are not evidence.       If what a lawyer said is different

   7   from the evidence as you remember it, the evidence is what

   8   counts.    The lawyers' questions and objections, likewise, are

   9   not evidence.

  10              A lawyer has a duty to object if he or she thinks a

  11   question is improper.      If I sustained objections to questions

  12   the lawyers asked, you must not speculate on what the answers

  13   might have been.      If, during the trial, I struck testimony or

  14   exhibits from the record or told you to disregard something,

  15   you must not consider it.

  16              Give the evidence whatever weight you decide it

  17   deserves.    Use your common sense in weighing the evidence and

  18   consider the evidence in light of your own everyday experience.

  19              People sometimes look at one fact and conclude from it

  20   that another fact exists.       This is called an inference.       You

  21   are allowed to make reasonable inferences so long as they are

  22   based on the evidence.

  23              You may have heard the terms "direct evidence" and

  24   "circumstantial evidence."       Direct evidence is evidence that

  25   directly proves a fact.       Circumstantial evidence is evidence
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   1   that indirectly proves a fact.        You are to consider both direct

   2   and circumstantial evidence.        The law does not say that one is

   3   better than the other.       It is up to you to decide how much

   4   weight to give any evidence, whether direct or circumstantial.

   5              Do not make any decisions simply by counting the

   6   number of witnesses who testified about a certain point.            What

   7   is important is how truthful and accurate the witnesses were

   8   and how much weight you think their testimony deserves.

   9              The law does not require any party to call as

  10   witnesses all persons who may have been present at the time or

  11   place involved in the case or who may appear to have some

  12   knowledge on the matters at issue in this trial.           Nor does the

  13   law require any party to produce as exhibits all papers and

  14   things mentioned in the evidence in the case.

  15              A defendant has an absolute right not to testify or

  16   present evidence.      You may not consider in any way the fact

  17   that a defendant did not testify or present evidence.            You

  18   should not even discuss it in your deliberations.

  19              Part of your job as jurors is to decide how believable

  20   each witness was and how much weight to give each witness'

  21   testimony.    You may accept all of what a witness says, or part

  22   of it, or none of it.      Some factors you may consider include:

  23              The intelligence of the witness;

  24              The witness' ability and opportunity to see, hear, or

  25   know the things the witness testified about;
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   1              The witness' memory;

   2              The witness' demeanor;

   3              Whether the witness had any bias, prejudice, or other

   4   reason to lie or slant the testimony;

   5              The truthfulness and accuracy of the witness'

   6   testimony in light of the other evidence presented;

   7              And inconsistent or consistent statements or conduct

   8   by the witness.

   9              It is proper for an attorney to interview any witness

  10   in preparation for trial.

  11              You have heard testimony from witnesses who were

  12   promised a benefit in return for his or her testimony and

  13   cooperation with the government, who pled guilty to one of the

  14   crimes the defendants are charged with committing.           You may not

  15   consider the witness' guilty plea as evidence against the

  16   defendants.     You may give these witnesses' testimony whatever

  17   weight you believe is appropriate, keeping in mind that you

  18   must consider that testimony with caution and great care.

  19              You may consider evidence that a witness was convicted

  20   of a crime only in deciding the believability of his or her

  21   testimony.    You may not consider it for any other purpose.

  22              You have heard in witnesses who testified that they

  23   were actually involved in criminal conduct charged in the

  24   second superceding indictment and some who pled guilty to

  25   charges arising out of some of the same facts as in this case.
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   1   The fact that one or more witnesses have entered into a plea of

   2   guilty to one or more of the offenses charged is not evidence

   3   of the guilt of any other person, including the defendant.

   4              The government is permitted to use accomplice

   5   testimony and to enter into agreements with the witnesses to

   6   bring the witness' cooperation to the attention of the

   7   sentencing court and/or to consider seeking a reduction in the

   8   sentencing range for a witness.        The testimony of an accomplice

   9   may alone be of sufficient weight to sustain a verdict of

  10   guilty if the jury finds the testimony establishes guilt beyond

  11   a reasonable doubt.      However, the testimony of an alleged

  12   accomplice, someone who said he or she participated in the

  13   commission of a crime, must be examined and weighed by the jury

  14   with greater care than the testimony of a witness who did not

  15   participate in the commission of that crime.

  16              You should ask yourself whether the witness would

  17   benefit more by lying or by telling the truth.           Was the

  18   testimony made up in any way because the witness believed or

  19   hoped that he or she would somehow receive favorable treatment

  20   by testifying falsely?       Or did he or she believe that his or

  21   her interests would best be served by testifying truthfully?

  22   If you believe the witness was motivated by personal gain, was

  23   the motivation one which would cause the witness to lie, or was

  24   it one which would cause the witness to tell the truth?            You

  25   are the sole judges of credibility or believability of each
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   1   witness and the weight to be given to his or her testimony.

   2              You have heard testimony of an identification of a

   3   person.    Identification testimony is an expression of the

   4   witness' belief or impression.        In evaluating this testimony,

   5   you should consider the opportunity the witness had to observe

   6   the person at the time and to make a reliable identification

   7   later.    You should also consider the circumstances under which

   8   the witness later made the identification.          The government must

   9   prove, beyond a reasonable doubt, that the defendant you are

  10   considering is the person who committed the crime that is

  11   charged.

  12              Identification of a voice, whether heard firsthand or

  13   through mechanical or electronic transmission or recording, may

  14   be established by opinion based upon hearing the voice at any

  15   time under circumstances connecting it with the speaker.

  16              You have heard from several witnesses who gave

  17   opinions and testimonies concerning drug trafficking practices

  18   that he or she examined and analyzed.         You do not have to

  19   accept these witnesses' opinions and testimonies.           You should

  20   judge these witnesses' opinions and testimonies the same way

  21   you judge the testimony of any other witness.

  22              In deciding how much weight to give to these opinions

  23   and testimonies, you should consider the witnesses'

  24   qualifications, how he or she reached his or her opinions and

  25   conclusions, and the factors I have described for you
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   1   determining the believability of testimony.

   2              You have heard evidence obtained from the government's

   3   use of wiretaps.      The government is permitted to use this

   4   technique.    You should consider evidence obtained this way

   5   together with and in the same way you consider the other

   6   evidence.

   7              I instruct you that it is within the proper and lawful

   8   performance of the duty of the United States Attorney to enter

   9   into plea bargaining with any individual relating to his or her

  10   alleged involvement in criminal activity and to make a decision

  11   regarding whether or not to present a particular case to the

  12   grand jury to seek an indictment, and whether or not to

  13   recommend a reduced sentence against a particular individual in

  14   exchange for that person's cooperation with the government's

  15   investigation.     You should draw no inferences based only on

  16   such an exercise of this discretion by the United States

  17   Attorney.

  18              One who has entered into a plea agreement with the

  19   government does not thereby become incompetent as a witness.

  20   You may give such testimony the weight you feel it deserves,

  21   keeping in mind that it is always to be received with caution

  22   and weighed with great care.        Moreover, the witness' agreement

  23   to enter a guilty plea is not to be considered as evidence

  24   against any defendant.

  25              During the trial, English language recordings were
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   1   admitted into evidence.       This is proper evidence that you

   2   should consider together with any -- together with and in the

   3   same way you should consider the other evidence.

   4              You were also given transcripts of the conversations

   5   to help you follow the recordings as you listened to them.             The

   6   recordings are the evidence of what was said and who said it.

   7   The transcripts are not evidence.        If you noticed any

   8   differences between what you heard in a conversation and what

   9   you read in the transcripts, your understanding of the

  10   recording is what matters.       In other words, you must rely on

  11   what you heard, not what you read.         And if you could not hear

  12   or understand certain parts of the recording, you must ignore

  13   the transcripts as far as those parts are concerned.

  14              It is up to you to decide whether to listen to a

  15   recording during your deliberations.         You may, if you wish,

  16   rely on your recollections of what you heard during the trial.

  17   If, during your deliberations, you wish to have another

  18   opportunity to listen to a recording, send a written message to

  19   the court clerk, and I will provide you with the recording.

  20              During the trial, Spanish language recordings were

  21   admitted into evidence.       You were also given English

  22   transcripts of those recordings so you could consider the

  23   contents of recordings.       It is up to you to decide whether a

  24   transcript is accurate in whole or in part.          You may consider

  25   the translator's knowledge, training, and experience; the
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   1   nature of the conversation; and the reasonableness of the

   2   translation in light of all the evidence in the case.            You may

   3   not rely on any knowledge you may have of the Spanish language.

   4   Rather, your consideration of the transcript should be based on

   5   the evidence introduced in the trial.

   6              Certain summaries were admitted in evidence.          You may

   7   use those summaries as evidence even though the underlying

   8   documents and evidence are not here.

   9              Certain maps and charts were shown to you to help

  10   explain other evidence that was admitted.          These maps and

  11   charts were Exhibit 34.       These maps and charts are not

  12   themselves evidence or proof of any facts, so you will not have

  13   these particular charts during your deliberations.           If they do

  14   not correctly reflect the facts shown by the evidence, you

  15   should disregard the maps and charts and determine the facts

  16   from the underlying evidence.

  17              If you have taken notes during the trial, you may use

  18   them during deliberations to help you remember what happened

  19   during the trial.      You should use your notes only as aids to

  20   your memory.     The notes are not evidence.       All of you should

  21   rely on your independent recollection of the evidence and you

  22   should not be unduly influenced by the notes of other jurors.

  23   Notes are not entitled to any more weight than the memory or

  24   impressions of each juror.

  25              The second superceding indictment charges that the
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   1   crimes happened on or about certain dates.          The government must

   2   prove that the crimes happened reasonably close to these dates.

   3   The government is not required to prove that the crimes

   4   happened on those exact dates.

   5              The defendants have been accused of more than one

   6   crime.    The number of charges is not evidence of guilt and

   7   should not influence your decision.         You must consider each

   8   charge and the evidence concerning each charge separately.

   9   Your decision on one charge, whether it is guilty or not

  10   guilty, should not influence your decision on any other charge.

  11              Even though the defendants are being tried together,

  12   you must consider each defendant and the evidence concerning

  13   that defendant separately.       Your decision concerning one

  14   defendant, whether it is guilty or not guilty, should not

  15   influence your decision concerning any other defendant.

  16              In deciding your verdict, you should not consider the

  17   possible punishment for the defendants who are on trial.            If

  18   you decide that the government has proved a defendant guilty

  19   beyond a reasonable doubt, then it will be my job to decide on

  20   the appropriate punishment.

  21              A person acts knowingly if he realizes what he is

  22   doing and is aware of the nature of his conduct and does not

  23   act through ignorance, mistake, or accident.          In deciding

  24   whether a defendant acted knowingly, you may consider all of

  25   the evidence, including what the defendant did or said.
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   1              A defendant's presence at the scene of a crime and

   2   knowledge that a crime is being committed is not sufficient by

   3   itself to establish the defendant's guilt.          If a defendant

   4   performed acts that advanced the crime, but had no knowledge

   5   that the crime was being committed or was about to be

   6   committed, those acts are not sufficient by themselves to

   7   establish the defendant's guilt.        A defendant's association

   8   with persons involved in a crime or criminal scheme is not

   9   sufficient by itself to prove his participation in the crime or

  10   membership in the criminal scheme.

  11              Count 1 of the second superceding indictment charges

  12   Defendants Christopher Tate and Sandra Kellogg with a

  13   conspiracy to distribute controlled substances.           In order for

  14   you to find a defendant guilty of this charge, the government

  15   must prove each of the following elements beyond a reasonable

  16   doubt:

  17              One, the conspiracy, as charged in Count 1, existed;

  18              And, two, the defendant knowingly became a member of

  19   the conspiracy with an intent to advance the conspiracy.

  20              If you find, from your consideration of all the

  21   evidence, that the government has proved each of these elements

  22   beyond a reasonable doubt, then you should find the defendant

  23   you are considering guilty.       If, on the other hand, you find,

  24   from your consideration of all the evidence, that the

  25   government has failed to prove any one of these elements beyond
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   1   a reasonable doubt, then you should find the defendant you are

   2   considering not guilty.

   3              A conspiracy is an express or implied agreement

   4   between two or more persons to commit a crime.           A conspiracy

   5   may be proven even if its goals were not accomplished.            In

   6   deciding whether the charged conspiracy existed, you may

   7   consider all of the circumstances, including the words and acts

   8   of each of the alleged participants.

   9              To be a member of a conspiracy, a defendant need not

  10   join it at the beginning and he or she does not need to know

  11   all of the other members or all of the means by which the

  12   illegal goals of the conspiracy were to be accomplished.            The

  13   government must prove, beyond a reasonable doubt, that the

  14   defendant you are considering was aware of the illegal goals of

  15   the conspiracy and knowingly joined the conspiracy.

  16              A defendant is not a member of a conspiracy just

  17   because he or she knew and/or associated with people who were

  18   involved in the conspiracy, knew there was a conspiracy and/or

  19   was present during the conspiratorial discussions.

  20              In deciding whether a particular defendant joined the

  21   conspiracy charged, you must base your decision only on what

  22   that defendant did or said.       To determine what that defendant

  23   did or said, you may consider that defendant's own words or

  24   acts.    You may also use the words or acts of other persons to

  25   help you decide what a defendant did or said.
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   1              A conspiracy is a combination of two are more persons

   2   to accomplish an unlawful purpose or a lawful purpose by

   3   unlawful means.     While it involves an agreement to violate the

   4   law, it is not necessary that the persons charged met together

   5   and entered into an express or formal agreement or that they

   6   stated, in words or writing, what the scheme was or how it was

   7   to be effected.     It is sufficient to show that they came to a

   8   mutual understanding to accomplish an unlawful act.

   9              Such an agreement may be inferred from the

  10   circumstances and the conduct of the parties since ordinarily a

  11   conspiracy is characterized by secrecy.          In determining whether

  12   a conspiracy existed, the jury should consider the actions and

  13   declarations of all the alleged participants.

  14              To be a member of a conspiracy, a defendant need not

  15   know all of the other members nor all of the details of the

  16   conspiracy, nor the means by which the object was to be

  17   accomplished.     Each member of the conspiracy may perform

  18   separate and distinct acts.       It is necessary, however, that the

  19   government prove, beyond a reasonable doubt, that a defendant

  20   was aware of the common purpose and was a willing participant

  21   with the intent to advance the purpose of the conspiracy.

  22              A conspiracy requires more than just a buyer/seller

  23   relationship between a defendant and another person.            In

  24   addition, a buyer and seller of controlled substances do not

  25   enter into a conspiracy to distribute controlled substances
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   1   simply because the buyer resells the controlled substance to

   2   others, even if the seller knows that the buyer intends to

   3   resell the controlled substance.        To prove a conspiracy, the

   4   government must prove that a buyer and seller had the joint

   5   criminal objective of distributing controlled substances to

   6   others.

   7              That's a lot of reading.      One minute.

   8              Count 1 charges that there was a single conspiracy.

   9   The defendant, Sandra Kellogg, contends that there was more

  10   than one conspiracy.      If you find that there was more than one

  11   conspiracy and that the defendant was a member of one or more

  12   of those conspiracies, then you may find the defendant guilty

  13   on Count 1 only if the conspiracy of which she was a member was

  14   a part of the conspiracy charged in Count 1.

  15              The government is not required to prove the exact

  16   conspiracy charged in the second superceding indictment, so

  17   long as it proves that the defendant was a member of a smaller

  18   conspiracy contained within the charged conspiracy.

  19              You will note that as part of Count 1 of the second

  20   superceding indictment, there are charged a number of so-called

  21   overt acts.     An overt act is any act knowingly committed by a

  22   conspirator in an effort to accomplish some object of the

  23   conspiracy.     The overt act need not be criminal in itself, but

  24   may be an otherwise innocent act.        It must, however, be an act

  25   which follows and tends towards accomplishment of the illegal
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   1   plan or scheme.

   2              In order to show that a defendant conspired to possess

   3   and distribute methamphetamine as charged in Count 1, the

   4   government need not prove that the particular overt act

   5   occurred in furtherance of the conspiracy since the essence of

   6   the conspiracy to violate -- since the essence of a conspiracy

   7   to violate the Controlled Substances Act is the criminal

   8   agreement itself and not the success of the conspirators in

   9   carrying out the agreement.

  10              Evidence of overt acts charged, however, may tend to

  11   establish the continuing nature of the conspiracy and clearly

  12   reveal its object.      With respect to Count 1 of the indictment,

  13   therefore, the statute does not require an overt act to

  14   complete the offense, although the existence of a conspiracy

  15   may be inferred from the commission in concert of overt acts by

  16   the participants in an alleged conspiracy.

  17              The alleged conspiracy was to distribute controlled

  18   substances, which is the crime charged in Count 1 of the second

  19   superceding indictment, and not the actual unlawful

  20   distribution.     In other words, it is immaterial whether or not

  21   the purpose of the alleged conspiracy was accomplished.

  22              Some of the people who may have been involved in these

  23   events are not on trial.       This does not matter.      There is no

  24   requirement that all members of a conspiracy be charged and

  25   prosecuted or tried together in one proceeding.           Nor is there
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   1   any requirement that the names of the conspirators be known.

   2   An indictment can charge a defendant with a conspiracy

   3   involving people whose names are not known as long as the

   4   government can prove that the defendant you are considering

   5   conspired with one or more of them.

   6              If it is established, beyond a reasonable doubt, that

   7   a conspiracy existed as charged in Count 1 of the second

   8   superceding indictment and that the defendant you are

   9   considering was one of its members, then the acts and

  10   declarations of any other member of that particular conspiracy

  11   in or out of that defendant's presence, done in furtherance of

  12   the objects of the conspiracy, and during its existence, may be

  13   considered as evidence against that defendant.           When persons

  14   enter into an agreement for an unlawful purpose, they become

  15   agents for one however.

  16              However, statements of any alleged conspirator, which

  17   are not in furtherance of the conspiracy, or made before its

  18   existence or after its termination, may not be so considered.

  19              You are instructed, as a matter of law, that

  20   methamphetamine is a Schedule II nonnarcotic controlled

  21   substance and that heroin is a Schedule I narcotic controlled

  22   substance.

  23              In this case, there has been chemical analysis of some

  24   of the controlled substances the defendants are charged with

  25   possessing with intent to distribute and distributing.            The law
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   1   is that the introduction of a chemical analysis of the

   2   controlled substance at issue is not essential to prove the

   3   substances are methamphetamine or heroin, as the testimony of a

   4   person who observed the defendant in possession of the

   5   controlled substances is sufficient if the person is familiar

   6   with the substances at issue.

   7              In determining a witness' familiarity with controlled

   8   substances at issue here, you may consider the witness'

   9   observations, expertise, and the circumstances surrounding the

  10   transaction involving the charged controlled substance.

  11              Counts 2 and 4 of the second superceding indictment

  12   charge Defendant Christopher Tate with distribution of

  13   methamphetamine.      In order for you to find the defendant guilty

  14   on this charge, the government must prove both of the following

  15   elements beyond a reasonable doubt:

  16              One, the defendant knowingly distributed

  17   methamphetamine;

  18              And, two, the defendant knew the substance was or

  19   contained some kind of a controlled substance.           The government

  20   is not required to prove that the defendant knew the substance

  21   was methamphetamine.

  22              If you find, from your consideration of all the

  23   evidence, that the government has proved each of these elements

  24   beyond a reasonable doubt as to the charge you are considering,

  25   then you should find the defendant guilty of that charge.
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   1              If, on the other hand, you find, from your

   2   consideration of all the evidence, that the government has

   3   failed to prove any one of these elements beyond a reasonable

   4   doubt as to the charge you are considering, then you should

   5   find the defendant not guilty of that charge.

   6              A person distributes a controlled substance if he or

   7   she delivers or transfers possession of the controlled

   8   substance to someone else or causes a person to deliver or

   9   transfer possession of the controlled substance to another

  10   person.

  11              A person who aids in the commission of an offense may

  12   be found guilty of that offense if he or she knowingly

  13   participated in the criminal activity and tried to make it

  14   succeed.

  15              Count 3 of the second superceding indictment charges

  16   Defendant Christopher Tate with possession of methamphetamine

  17   with intent to distribute.       Count 5 of the second superceding

  18   indictment charges Defendant Sandra Kellogg with possession of

  19   methamphetamine with intent to distribute.

  20              In order for you to find the defendant guilty of this

  21   charge, the defendant must prove both of the following elements

  22   beyond a reasonable doubt:

  23              One, the defendant knowingly possessed

  24   methamphetamine;

  25              Two, the defendant intended to distribute the
Case 1:20-cr-00096-TWP-DLP Document 959 Filed 10/26/22 Page 123 of 142 PageID #:
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   1   substance to another person;

   2              And, three, the defendant knew the substance was some

   3   kind of a controlled substance.        The government is not required

   4   to prove that the defendant knew the substance was

   5   methamphetamine.

   6              If you find, from your consideration of all the

   7   evidence, that the government has proved each of these elements

   8   beyond a reasonable doubt as to the charge you are considering,

   9   then you should find the defendant you are considering guilty

  10   of that charge.

  11              If, on the other hand, you find, from your

  12   consideration of all the evidence, that the government has

  13   failed to prove any one of these elements beyond a reasonable

  14   doubt as to the charge you are considering, then you should

  15   find the defendant you are considering not guilty of that

  16   charge.

  17              A person possesses an object if he or she has the

  18   ability and intention to exercise direction or control over the

  19   object, either directly or through others.          A person may

  20   possess an object even if he or she is not in physical contact

  21   with it and even if he or she does not own it.

  22              More than one person may possess an object.          If two or

  23   more persons share possession, that is called "joint

  24   possession."     If only one person possesses the object, that is

  25   called "sole possession."       The term "possess" in these
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   1   instructions includes both joint and sole possession.

   2              In attempting to determine the intent of any person,

   3   you may take into consideration all the facts and circumstances

   4   shown by the evidence received in the case.          In determining a

   5   person's intent to distribute controlled substances, you may

   6   consider, among other things, the quantity of the controlled

   7   substance.    Proof of possession of a substantial amount of

   8   methamphetamine supports the inference that the possessor

   9   intended to distribute the drugs rather than retain them for

  10   personal use.

  11              If you find a defendant guilty of the offense charged

  12   in Count 1 of the second superceding indictment, you must then

  13   determine the amount of controlled substances the government

  14   has proven was involved in the offense.          You will see on the

  15   verdict form a question concerning the amount of

  16   methamphetamine involved in the offense charged in Count 1 of

  17   the second superceding indictment.         You should consider this

  18   question only if you have found that the government has proven

  19   the defendant you are considering guilty of the offense charged

  20   in Count 1 of the second superceding indictment.

  21              If you find the government that is proven, beyond a

  22   reasonable doubt, that the offense involved 500 grams or more

  23   of a mixture or substance containing a detectable amount of

  24   methamphetamine, then you should answer the first question yes.

  25   If you answer yes, then you need not answer the remaining
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   1   questions regarding drug quantity for that count.

   2              If you find that the government has not proven, beyond

   3   a reasonable doubt, that the offense involved 500 grams or more

   4   of a mixture or substance containing a detectable amount of

   5   methamphetamine, then you should answer the first question no.

   6   If you answer the first question no, then you must answer the

   7   next question.

   8              That question asks you to determine whether the

   9   government has proven, beyond a reasonable doubt, that the

  10   offense involved 50 grams or more of a mixture or substance

  11   containing a detectable amount of methamphetamine.           If you find

  12   that the government has proven, beyond a reasonable doubt, that

  13   the offense involved 50 grams or more of a mixture or substance

  14   containing a detectable amount of methamphetamine, then you

  15   should answer the second question yes.         If you find that the

  16   government has not proven, beyond a reasonable doubt, that the

  17   offense involved 50 grams or more of a mixture or substance

  18   containing a detectable amount of methamphetamine, then you

  19   should answer the second question no.

  20              When determining the amount of the mixture or

  21   substance containing a detectable amount of methamphetamine

  22   attributable to the conspiracy, the focus is on whether the

  23   overall conspiracy involved the distribution of in excess of

  24   500 grams of a mixture or substance containing a detectable

  25   amount of methamphetamine, and not on the individual members of
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   1   the conspiracy.     As a member of the conspiracy, each is

   2   accountable for the acts of all other conspirators within the

   3   scope of that agreement.

   4              If you find Christopher Tate guilty of the offense

   5   charged in Counts 2 or 3 or 4 of the second superceding

   6   indictment, you must then determine the amount of

   7   methamphetamine the government has proven was involved in the

   8   offense.

   9              You will see on the verdict form a question concerning

  10   the amount of methamphetamine involved in the offense charged

  11   in Counts 2 or 3 or 4 of the second superceding indictment.

  12   You should consider this question only if you have found that

  13   the government has proven the defendant guilty of that offense

  14   charged in Count 2 or 3 or 4 of the second superceding

  15   indictment.

  16              If you find that the government has proven, beyond a

  17   reasonable doubt, that the offense involved 50 grams or more of

  18   actual methamphetamine, then you should answer the first

  19   question yes.     If you answered yes, then you need not answer

  20   the remaining questions regarding drug quantity for that count.

  21              If you find that the government has not proven, beyond

  22   a reasonable doubt, that the offense involved 50 grams or more

  23   of actual methamphetamine, then you should answer the first

  24   question no.     If you answered the first question no, then you

  25   must answer the next question.        That question asks you to
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   1   determine whether the government has proven, beyond a

   2   reasonable doubt, that the offense involved five grams or more

   3   of actual methamphetamine.

   4              If you find that the government has proven, beyond a

   5   reasonable doubt, that the offense involved five grams or more

   6   of actual methamphetamine, then you should answer the

   7   second question yes.      If you find that the government has not

   8   proven, beyond a reasonable doubt, that the offense involved

   9   five grams or more of actual methamphetamine, then you should

  10   answer the second question no.

  11              If you find Sandra Kellogg guilty of the offense

  12   charged in Count 5 of the second superceding indictment, you

  13   must then determine the amount of methamphetamine the

  14   government has proven was involved in the offense.

  15              You will see on the verdict form a question concerning

  16   the amount of methamphetamine involved in the offense charged

  17   in Count 2 of the second superceding indictment.           You should

  18   consider this question only if you have found that the

  19   government has proven the defendant guilty of the offense

  20   charged in -- this should be Count 5, shouldn't it?

  21              MR. BLACKINGTON:     Yes, Your Honor.

  22              THE COURT:    Count 5.    We'll correct that.     I'll

  23   repeat.

  24              You will see on the verdict form a question concerning

  25   the amount of methamphetamine involved in the offense charged
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   1   in Count 5 of the second superceding indictment.           You should

   2   consider this question only if you have found that the

   3   government has proven the defendant guilty of the offense

   4   charged in Count 5 of the second superceding indictment.

   5              If you find that the government has proven, beyond a

   6   reasonable doubt, that the offense involved 50 grams or more of

   7   actual methamphetamine, then you should answer the first

   8   question yes.     If you answered yes, then you need not answer

   9   the remaining questions regarding drug quantity for that count.

  10              If you find that the government has not proven, beyond

  11   a reasonable doubt, that the offense involved 50 grams or more

  12   of actual methamphetamine, then you should answer the first

  13   question no.     If you answer the first question no, then you

  14   must answer the next question.        The question -- that question

  15   asks you to consider whether the government has proven, beyond

  16   a reasonable doubt, that the offense involved -- it should --

  17   is that five grams?

  18              MR. BLACKINGTON:     Yes, Your Honor.

  19              THE COURT:    -- five grams or more of actual

  20   methamphetamine.

  21              If you find that the government has proven, beyond a

  22   reasonable doubt, that the offense involved five grams or more

  23   of actual methamphetamine, then you should answer the second

  24   question yes.     If you find that the government has not proven,

  25   beyond a reasonable doubt, that the offense involved five grams
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   1   or more of actual methamphetamine, then you should answer the

   2   second question no.

   3              Once you are all in the jury room, the first thing you

   4   should do is choose a foreperson.        The foreperson should see to

   5   it that your deliberations are carried on in an organized way

   6   and that everyone has a fair chance to be heard.           You may

   7   discuss the case only when all jurors are present.

   8              Once you start deliberating, do not communicate about

   9   the case or your deliberations with anyone except other members

  10   of the jury.     You may not communicate with others about the

  11   case or deliberations by any means.         This includes oral or

  12   written communication, as well as any electronic method of

  13   communications, such as a telephone, cell phone, smartphone,

  14   iPhone, BlackBerry -- I don't know where you would find one --

  15   computer, text message, any instant messaging, the Internet,

  16   chatrooms, blogs, Web sites, and social media services like

  17   Facebook, Myspace, LinkedIn, YouTube, Pinterest, Instagram,

  18   Twitter, or any other method of communication.

  19              If you need to communicate with me while you are

  20   deliberating, send a note through the court clerk.           The note

  21   should be signed by the foreperson or by one or more members of

  22   the jury.    You have a -- to have a complete record of this

  23   trial, it is important that you do not communicate with me

  24   except by a written note.       I may have to talk with the lawyers

  25   about your message, so it may take some time for me to get back
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   1   to you.    You may continue your deliberations while you wait for

   2   my answer.

   3              Please be advised that transcripts of trial testimony

   4   are not available to you.       You must rely on your collective

   5   memory of the testimony.       If you send me a message, do not

   6   include any breakdown of your -- of any votes you may have

   7   conducted.    In other words, do not tell me that you are split

   8   6-6 or 8-4 or whatever your vote happens to be.

   9              Alternate jurors, you are not allowed to

  10   participate in deliberations or render a vote on the verdict

  11   unless you are called upon to replace a member of the 12-person

  12   panel.    Any replacement will be done in open court and on the

  13   record.

  14              Verdict forms have been prepared for you.         You will

  15   take these forms with you to the jury room.          When you have

  16   reached unanimous agreement, your foreperson will fill in,

  17   date, and sign the appropriate verdict forms.           Advise the Court

  18   clerk once you have reached your verdict.          When you come back

  19   to the courtroom, the verdicts will be read aloud.

  20              Your verdict must represent the considered judgment of

  21   each juror.     Your verdict, whether it is guilty or not guilty,

  22   must be unanimous.      You should make every reasonable effort to

  23   reach a verdict.      In doing so, you should consult with each

  24   other, express your own views, and listen to your fellow

  25   jurors' opinions.      Discuss your differences with an open mind.
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   1   Do not hesitate to reexamine your own view and to change your

   2   opinion if you come to believe it is wrong.          But you should not

   3   surrender your honest beliefs about the weight or effect of

   4   evidence just because of the opinions of your fellow jurors or

   5   just so that there can be a unanimous verdict.

   6              The 12 of you should give fair and equal consideration

   7   to all the evidence.      You should deliberate with the goal of

   8   reaching an agreement that is consistent with the individual

   9   judgment of each juror.       You are impartial judges of the facts.

  10   Your sole interest is to determine whether the government has

  11   proved its case beyond a reasonable doubt.

  12              So at this time I need my bailiffs to come forward.

  13   Claunick?

  14              And if you would raise your right hands.

  15        (The bailiffs are sworn.)

  16              THE COURT:    Ladies and Gentlemen of the Jury, you may

  17   now retire for your deliberations.         Tanesa is going to take the

  18   alternates down to get your things and then we're going to

  19   bring you back up here and you're going to get to stay in my

  20   nice, comfortable jury room.

  21              All right, Tanesa.

  22              THE COURTROOM DEPUTY:      All rise.

  23              THE COURT:    Oh, you're allowed to take your binders

  24   with you.    Take all your materials with you, Ladies and

  25   Gentlemen.    If anyone needs assistance -- if anyone can't get
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   1   down -- needs assistance, Tanesa does have a cart.

   2              Okay.   Some people might not want to carry those

   3   binders.    Everybody take all your things.        Do you have -- do

   4   you all have things downstairs?          Okay.   Go down and get your

   5   things and then she'll bring them back up.          Your lunch is also

   6   there waiting for you.

   7        (Jury out at 1:58.)

   8              MR. BLACKINGTON:      Excuse me, Your Honor.     I had a

   9   quick question.

  10              THE COURT:    Sure.   Let's let them get that door

  11   closed.

  12              MR. BLACKINGTON:      Sure.

  13              THE COURT:    Okay.

  14              MR. BLACKINGTON:      Were you going to pull out the two

  15   alternates now?

  16              THE COURT:    Yes.    They went to get -- they left their

  17   things downstairs.

  18              MR. BLACKINGTON:      Okay.

  19              THE COURT:    And she's going to bring them back.        And

  20   they're going to be right here in the jury room; okay?            So

  21   they'll be right up here with us.

  22              All right.    And we're going to make those corrections

  23   on 51 to make sure that says "Count 5."

  24              All right, lawyers, make sure Tanesa has your cell

  25   phone numbers, and we'll give you a call.
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   1              We are in recess.     You can take him down.

   2              A DEPUTY U.S. MARSHAL:      Yes, Your Honor.

   3        (Recess at 2:00, until 5:45.)

   4              THE COURT:    We are on the record.      This is the United

   5   States of America versus Christopher Tate and Sandra Kellogg.

   6              And, Counsel, the bailiff advises the Court that the

   7   jury has reached a verdict.       Before we entertain the verdict,

   8   there were two questions from the jury, questions and

   9   inquiries.

  10              The first question was:      "For Count 1, does conspiracy

  11   need to be between Tate and Kellogg?         Or is it conspiracy

  12   between Tate and anyone and/or Kellogg and anyone?"            After

  13   consulting with all counsel, we agreed that the response would

  14   be, "The law is that each defendant has to join in the

  15   conspiracy as charged in Count 1 of the superceding

  16   indictment."

  17              Do you agree, Mr. Blackington?

  18              MR. BLACKINGTON:     Yes, Your Honor.

  19              THE COURT:    Mr. Riggins?

  20              MR. RIGGINS:    Yes, Your Honor.

  21              THE COURT:    And, Mr. Thomas?

  22              MR. THOMAS:    Yes, Your Honor.

  23              THE COURT:    The second inquiry was -- it says,

  24   "Paperwork for Count 3, page 2, after question one, if you've

  25   answered yes, it refers to the wrong numbered question.            Do we
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   1   complete it as is or await a corrected version?"           And the

   2   Court, after consulting with counsel, the response is, "Our

   3   apologies.    Here is the corrected version of the verdict form

   4   for Count 3."

   5              Do you agree, Government?

   6              MR. BLACKINGTON:     Yes, I do, Your Honor.

   7              THE COURT:    Mr. Riggins?

   8              MR. RIGGINS:    Yes, Your Honor.

   9              THE COURT:    And, Mr. Thomas?

  10              MR. THOMAS:    Yes, Your Honor.

  11              THE COURT:    And we did take back a -- Tanesa gave them

  12   a corrected verdict form for Count 3.

  13              All right, Government, are you ready for the jury?

  14              MR. BLACKINGTON:     Yes, Your Honor.

  15              THE COURT:    Mr. Riggins?

  16              MR. RIGGINS:    Yes, Your Honor.

  17              THE COURT:    And, Mr. Thomas?

  18              MR. THOMAS:    I am also ready, Your Honor.

  19              THE COURT:    All right.    Tanesa, you can bring in the

  20   panel.

  21              And the Court wants to admonish -- I know there are

  22   about ten people in the overflow room, watching.           The Court is

  23   going to admonish those persons that, regardless of whether

  24   you're happy or sad about the verdict, there will be no

  25   outbursts in the courthouse.        And for the defendants in the
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   1   courtroom, whether you're happy or sad about the verdict, no

   2   outbursts in the courtroom.

   3              Do you agree, Mr. Tate?

   4              DEFENDANT TATE:     Yes, ma'am.

   5              THE COURT:    And do you agree, Ms. Kellogg?

   6              DEFENDANT KELLOGG:     Yes, ma'am.

   7              THE COURT:    Okay.   Thank you.

   8        (Off the record.)

   9              THE COURTROOM DEPUTY:      All rise.

  10        (Jury in at 5:51.)

  11              THE COURT:    We are on the record.      This is the United

  12   States of America versus Christopher Tate and Sandra Kellogg.

  13   Mr. Tate appears in person and with his attorney, Kenneth

  14   Lawrence Riggins.      Ms. Kellogg appears in person with her

  15   attorney, Ross G. Thomas.        The United States of America is

  16   represented by Assistant United States Attorney Bradley A.

  17   Blackington.

  18              And, Counsel, the bailiff advises the Court that the

  19   jury has reached a verdict.

  20              And, let's see, who's holding the paperwork?          Sir, are

  21   you the foreperson?

  22              JUROR:   Yes.

  23              THE COURT:    And has the jury reached a verdict?

  24              JUROR:   We have.

  25              THE COURT:    Would you please hand the form of the
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   1   verdicts to the bailiff.

   2              Thank you.

   3              The United States of America versus Christopher Tate.

   4   Count 1, conspiracy to distribute controlled substances.            With

   5   respect to the charge of conspiracy to distribute controlled

   6   substances, in violation of Title 21 United States Code,

   7   Section 846, as described in Count 1 of the second superceding

   8   indictment, we, the jury, unanimously find the defendant,

   9   Christopher Tate, guilty.

  10              With respect to Count 1, we, the jury, find that the

  11   government has proven, beyond a reasonable doubt, that the

  12   conspiracy to distribute methamphetamine involved 500 grams or

  13   more of a mixture or substance containing a detectable amount

  14   of methamphetamine, yes.

  15              With respect to Count 1, we, the jury, find that the

  16   government has proven, beyond a reasonable doubt, that the

  17   conspiracy to distribute methamphetamine involved 50 grams or

  18   more of actual methamphetamine, yes.

  19              Signed by the foreperson, dated February 15th, 2022.

  20              Count 2, distribution of methamphetamine.         With

  21   respect to the charge of distribution of methamphetamine, in

  22   violation of Title 21 United States Code, Section 841(a)(1),

  23   as described in Count 2 of the second superceding indictment,

  24   we, the jury, unanimously find the defendant, Christopher Tate,

  25   guilty.
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   1              With respect to Count 2, we, the jury, find that the

   2   government has proven, beyond a reasonable doubt, that the

   3   amount of methamphetamine distributed involved 50 grams or more

   4   of actual methamphetamine, yes.

   5              Dated February 15th, 2022, signed by the foreperson.

   6              Count 3, possession of methamphetamine with intent to

   7   distribute.     With respect to the charge of possession of

   8   methamphetamine with the intent to distribute, in violation of

   9   Title 21 United States Code, Section 841(a)(1), as described

  10   in Count 3 of the second superceding indictment, we, the jury,

  11   unanimously find the defendant, Christopher Tate, guilty.

  12              With respect to Count 3, we, the jury, find that the

  13   government has proven, beyond a reasonable doubt, that the

  14   amount of methamphetamine that was possessed with the intent to

  15   distribute involved 50 grams or more of actual methamphetamine,

  16   yes.

  17              Dated February 15, 2022, signed by the foreperson.

  18              Count 4, distribution of methamphetamine.         With

  19   respect to the charge of distribution of methamphetamine, in

  20   violation of Title 21 United States Code, Section 841(a)(1), as

  21   described in Count 4 of the second superceding indictment, we,

  22   the jury, unanimously find the defendant, Christopher Tate,

  23   guilty.

  24              With respect to Count 4, we, the jury, find that the

  25   government has proven, beyond a reasonable doubt, that the
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   1   amount of methamphetamine distributed involves 50 grams or more

   2   of actual methamphetamine, yes.

   3              Dated February 15th, 2022, signed by the foreperson.

   4              The United States of America versus Sandra Kellogg.

   5   Count 1, conspiracy to distribute controlled substances.            With

   6   respect to the charge of conspiracy to distribute controlled

   7   substances, in violation of Title 21 United States Code,

   8   Section 846, as described in Count 1 of the second superceding

   9   indictment, we, the jury, unanimously find the defendant,

  10   Sandra Kellogg, guilty.

  11              With respect to Count 1, we, the jury, find that the

  12   government has proven, beyond a reasonable doubt, that the

  13   conspiracy to distribute methamphetamine involved 500 grams or

  14   more of a mixture or substance containing a detectable amount

  15   of methamphetamine, yes.

  16              Dated February 15th, 2022, signed by the foreperson.

  17              Count 5, possession of methamphetamine with intent to

  18   distribute.     With respect to the charge of possession of

  19   methamphetamine with intent to distribute, in violation of

  20   Title 21 United States Code, Section 841(a)(1), as described in

  21   Count 5 of the second superceding indictment, we, the jury,

  22   unanimously find the defendant, Sandra Kellogg, guilty.

  23              With respect to Count 5, we, the jury, find that the

  24   government has proven, beyond a reasonable doubt, that the

  25   amount of methamphetamine that was possessed with intent to
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   1   distribute involved 50 grams or more of actual methamphetamine,

   2   yes.

   3              Dated February 15th, 2022, signed by the foreperson.

   4              And, Ladies and Gentlemen, the Court is going to poll

   5   the jury, and we're going to call juror number one the person

   6   seated in the very front closest to me.

   7              Juror number one, are those your verdicts?

   8              JUROR:   Yes.

   9              THE COURT:    Juror number 2?

  10              JUROR:   Yes.

  11              THE COURT:    Juror number 3?

  12              JUROR:   Yes.

  13              THE COURT:    In the first row in the box, juror number

  14   4?

  15              JUROR:   Yes.

  16              THE COURT:    Juror number 5?

  17              JUROR:   Yes.

  18              THE COURT:    Juror number 6?

  19              JUROR:   Yes.

  20              THE COURT:    Juror number 7?

  21              JUROR:   Yes.

  22              THE COURT:    Juror number 8?

  23              JUROR:   Yes.

  24              THE COURT:    Juror number 9?

  25              JUROR:   Yes.
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   1              THE COURT:    Juror number 10?

   2              JUROR:   Yes.

   3              THE COURT:    Juror number 11?

   4              JUROR:   Yes.

   5              THE COURT:    And juror number 12?

   6              JUROR:   Yes.

   7              THE COURT:    All right, Ladies and Gentlemen of the

   8   Jury, on behalf of the citizens of the United States District

   9   Court in the Southern District of Indiana and the attorneys and

  10   all of the parties, I would like to thank you all for your

  11   seven days of very diligent jury service.          You have performed a

  12   very important civic duty, and we all appreciate you taking the

  13   time and the effort to do what you've done.          It's a very

  14   important function.

  15              I'm going to send you back to your jury room with

  16   Tanesa, and I will come down and speak to you all before you

  17   leave.    So thank you again.

  18              THE COURTROOM DEPUTY:      All rise.

  19        (Jury out at 5:59.)

  20              THE COURT:    Lawyers and defendants, the Court is

  21   going to go ahead and enter the preliminary judgments of

  22   conviction.

  23              Ms. Kellogg, because you have now been convicted,

  24   under statute, the Court is required to take you into custody.

  25   I think you've been previously advised it was the Court's
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   1   intent.    So I'm going to remand you to the custody of the

   2   United States Marshal.

   3              I'm going to order a Presentence Investigation Report.

   4   Someone from the United States Probation Office is going to

   5   contact your attorneys, and they will schedule a time to talk

   6   to you.    And the Court -- they will prepare a report about you

   7   that will assist the Court in determining what sentence to

   8   impose, and your attorneys are allowed to be present when you

   9   do those interviews.

  10              With respect to the enhancements on Mr. Tate, how do

  11   you propose that we proceed with those, Counsel?

  12              MR. BLACKINGTON:      Your Honor, I think that's an issue

  13   that should be raised at sentencing if the defense contests the

  14   enhancement.     You know, I think that's something that just

  15   plays out in the sentencing hearing.         We agreed in the

  16   stipulation that the government had the burden of proving them

  17   at sentencing beyond a reasonable doubt.          I still think that's

  18   our burden.     It's just that we prove it to the Court.

  19              THE COURT:    Okay.   Do you agree, Mr. Riggins?

  20              MR. RIGGINS:    Yes, Your Honor.      That's what we agreed

  21   to.

  22              THE COURT:    Okay.   All right.    So we're going to --

  23   I'm going to discharge the jury.        And thank you, lawyers.       You

  24   all did a fine job.

  25              MR. BLACKINGTON:      Thank you, Your Honor.
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   1              THE COURT:    All right.    I'll see everybody as soon as

   2   the Presentence Report is prepared.         We are adjourned.

   3              COURT CLERK:    All rise.

   4        (Proceedings adjourned at 6:01 p.m.)

   5

   6        ----------------------------------------------------------

   7

   8                       CERTIFICATE OF COURT REPORTER

   9

  10

  11         I, David W. Moxley, hereby certify that the

  12   foregoing is a true and correct copy of the

  13   transcript originally filed with the clerk of court

  14   on July 27, 2022, and incorporating redactions of

  15   personal identifiers requested by the following

  16   attorney of record: Bradley A. Blackington, in

  17   accordance with Judicial Conference.         Redacted

  18   characters appear as blacked out in the transcript.

  19

  20

  21

  22   /S/ David W. Moxley                        October 26, 2022

  23   DAVID W. MOXLEY, RMR/CRR/CMRS
       Official Court Reporter
  24   Southern District of Indiana
       Indianapolis Division
  25
